 


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION

VetBridge Product Development Subsidiary I         )
(NM-OMP), LLC,                                     )
                                                   )
                Plaintiff,                         )     Case No. 5:18-CV-06147-BCW
                                                   )
vs.                                                )
                                                   )
NewMarket Pharmaceuticals, LLC,                    )
                                                   )
                Defendant.                         )

                              DECLARATION OF GREER S. LANG

       I, Greer S. Lang, being over the age of 18, under the penalties of perjury, state as follows:

       1.      My name is Greer S. Lang. I am a partner in the law firm of Lathrop Gage LLP and
lead counsel for the plaintiff, VetBridge Product Development Subsidiary I (NM-OMP), LLC
(“VetBridge”), in this action. In that capacity, I have personal knowledge of the facts stated herein.

        2.     As counsel for VetBridge, I electronically filed VetBridge’s Verified Petition with the
Circuit Court of Buchanan County on August 29, 2018. Exhibit A to VetBridge’s Verified Petition
was a copy of the July 27, 2014 Exclusive Distribution Agreement (“Agreement”) between
VetBridge and NewMarket Pharmaceuticals, LLC (“NewMarket”).

         3.    Attached hereto as Exhibit A is a true and correct copy of a September 6, 2018 email
I sent to Mark Ridall at m.ridall@aborisah.com; m.ridall@newmarketpharma.com, together with the
Microsoft delivery receipt, a Microsoft notice indication that delivery to the email address
m.ridall@newmarketphara.com failed, and the attachments, which included the Summons, Verified
Complaint, Ex Parte Motion for a Temporary Restraining Order (“TRO”), and a Certified Copy of
the Ex Parte Temporary Restraining Order the Circuit Court entered on September 5, 2018. Because
NewMarket is currently seeking to place the Agreement under seal, I have included only the first
page (redacting everything but the introductory paragraph), and the signature pages.

       4.       Attached hereto as Exhibit B is a true and correct copy of a September 7, 2018 letter
NewMarket’s counsel, Joel A. Pisano of Walsh Pizzi O'Reilly Falanga LLP, filed in the case styled
NewMarket Pharmaceuticals, LLC v. VetPharm, Inc., Case No. 3:17-cv-01852 (the “New Jersey
Action”), with the attachments thereto, including a copy of the TRO.

         5.       NewMarket’s counsel did not provide me with a copy of Mr. Pisano’s letter (Exhibit
B) at the time it was filed in the New Jersey Action. Nor did they contact me to advise that it was
their position that the Agreement was confidential or to request that it be placed under seal. The first
time NewMarket’s counsel said anything to that effect was at the September 14 hearing—seven days
after they first learned that the Agreement was attached as an exhibit to the Verified Petition and had
been publicly filed—when Mr. Pollaro and NewMarket’s local counsel, Aimee Davenport (of
Stinson Leonard Street LLP) appeared in court.



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         6.    At the preliminary injunction hearing in the Circuit Court, because certain of the
testimony to be offered during that hearing would potentially disclose “Confidential Information”
under the terms of the Agreement, out of an overabundance of caution, I requested that the hearing
itself be conducted in a closed courtroom, so that the parties would have the opportunity, once the
transcript was available, to designate those portions they claimed were confidential under the
Agreement.

       7.     Following the hearing in the Circuit Court on September 14, 2018, I prepared a
proposed Amended Temporary Restraining Order (“Amended TRO”) at the direction of the Circuit
Court, and emailed a copy of the same to NewMarket’s counsel, Robert Pollaro and Aimee
Davenport. Neither Mr. Pollaro nor Ms. Davenport notified me of any objections to the contents of
the Amended TRO, nor did they request that the same be placed under seal.

         8.      Attached hereto as Exhibit C is a true and correct copy of NewMarket’s Notice of
Motion to Seal and attachments, including the Declaration of Joel A. Pisano in Support of Motion,
Proposed Findings of Fact and Conclusions of Law in Support of Motion to Seal, Statement in Lieu
of Brief Pursuant to Local Civil Rule 7.1(D)(4) and [Proposed] Order (Doc. 93), filed in the New
Jersey Action on September 26, 2018. According to the Docket Sheet in that action on PACER at
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?318976243552462-L_1_0-1 that motion was not
opposed by VetPharm, Inc. (“VetPharm”), the only other party to that action.

        9.     Attached hereto as Exhibit D is a true and correct copy of the [Proposed] Order (Doc.
97) entered by the New Jersey Court on October 30, 2018, granting NewMarket’s motion to permit
the Agreement to be filed under seal in that action.

        10.     At the time NewMarket removed the Circuit Court action to this Court, and even as
of today, NewMarket has never moved this Court to place any of those pleadings or orders under
seal. Nor has it done so in the Circuit Court; though those pleadings and orders are still accessible to
the public through case.net at https://www.courts.mo.gov/casenet/base/welcome.do.

        11.     Attached hereto as Exhibit E is a true and correct copy of an email string between
Mr. Pollaro and myself (between October 19 and October 24) regarding Mr. Pollaro’s request that I
take steps to place the copy of the Agreement attached to VetBridge’s October 19, 2018 Suggestions
in Support of Motion to Schedule a Hearing on its Preliminary its Preliminary Injunction Motion (“Motion for 
Hearing”) (Doc. 13-1) under seal, my explanation of why VetBridge did not believe the Agreement
was entitled to confidential treatment, both under the Agreement’s express terms and based upon
NewMarket’s voluntary filings and disclosures, as well as my requests that Mr. Pollaro explain the
basis for his position and how my analysis was in error.

        I make this declaration under penalty of perjury under the laws of the United States and the
laws of the State of Missouri.



Dated: November 14, 2018
                                                          Greer S. Lang




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Lang, Greer S.

From:                                     Lang, Greer S.
Sent:                                     Thursday, September 06, 2018 10:35 AM
To:                                       m.ridall@aborisah.com; m.ridall@newmarketpharma.com
Cc:                                       Stahl, Thomas
Subject:                                  VetBridge Product Development Subsidiary I (NM-OMP), LLC v. NewMarket
                                          Pharmaceuticals, LLC, Case No. 18BU-CV03640
Attachments:                              2018-08-29_Ex Parte Motion for Temporary Restraining Order.pdf; 2018-08-29
                                          _Summons for Personal Service Outside the State of Missouri.pdf; 2018-08-29_Verified
                                          Petition for Damages, Specific Performance & Injunctive Relief.pdf; 2018-09-04
                                          TRO_Certified.pdf




Mr. Ridall, 
 
This firm represents VetBridge Product Development Subsidiary I (NM‐OMP), LLC. Please see the attached, which were 
filed in and issued from  Circuit Court of Buchanan County, Missouri on August 29, 2018: 
     1. Summons,  
     2. Verified Petition for Damages, Specific Performance and Injunctive Relief, and 
     3. Corrected Ex Parte Motion for a Temporary Restraining Order. 
 
Additionally, we are attaching the Temporary Restraining Order entered by the Court on September 5, 2018, which 
enjoins and restrains NewMarket Pharmaceuticals, LLC and the persons and conduct described therein.   Please note 
that VetBridge’s motion for a preliminary injunction, as requested in its Verified Petition, has been set for a hearing in 
the Circuit Court of Buchanan County, Missouri, Division 1, at 9:30 a.m. on September 14, 2018.  
 
 

Greer S. Lang
Partner



Lathrop Gage LLP
2345 Grand Blvd., Suite 2200
Kansas City, MO 64108-2618
Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001
glang@lathropgage.com
lathropgage.com
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be protected by the attorney-client privilege, attorney work product doctrine or other legal rules. Any review, reliance or distribution by others or
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copies.




                                                                          1
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                                                                                      Lang Dec., EXHIBIT A
Lang, Greer S.

From:                           Microsoft Outlook
To:                             m.ridall@aborisah.com; m.ridall@newmarketpharma.com
Sent:                           Thursday, September 06, 2018 10:36 AM
Subject:                        Relayed: VetBridge Product Development Subsidiary I (NM-OMP), LLC v. NewMarket
                                Pharmaceuticals, LLC, Case No. 18BU-CV03640



Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

m.ridall@aborisah.com (m.ridall@aborisah.com)

m.ridall@newmarketpharma.com (m.ridall@newmarketpharma.com)

Subject: VetBridge Product Development Subsidiary I (NM-OMP), LLC v. NewMarket Pharmaceuticals, LLC, Case No.
18BU-CV03640




                                                         1
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Lang, Greer S.

From:                           postmaster@newmarketpharma.com
To:                             m.ridall@newmarketpharma.com
Sent:                           Thursday, September 06, 2018 10:38 AM
Subject:                        Undeliverable: VetBridge Product Development Subsidiary I (NM-OMP), LLC v.
                                NewMarket Pharmaceuticals, LLC, Case No. 18BU-CV03640



Delivery has failed to these recipients or groups:

m.ridall@newmarketpharma.com
This message was rejected by the recipient email system. Please check the recipient's email address
and try resending this message, or contact the recipient directly.




Diagnostic information for administrators:

Generating server: SN6PR05MB4816.namprd05.prod.outlook.com

m.ridall@newmarketpharma.com
Remote Server returned '< #5.1.10 smtp;550 5.1.10 RESOLVER.ADR.RecipientNotFound; Recipient
m.ridall@newmarketpharma.com not found by SMTP address lookup>'

Original message headers:

Received: from SN4PR0501CA0128.namprd05.prod.outlook.com
 (2603:10b6:803:42::45) by SN6PR05MB4816.namprd05.prod.outlook.com
 (2603:10b6:805:9b::30) with Microsoft SMTP Server (version=TLS1_2,
 cipher=TLS_ECDHE_RSA_WITH_AES_256_GCM_SHA384) id 15.20.1143.6; Thu, 6 Sep
 2018 15:37:42 +0000
Received: from BY2NAM01FT035.eop-nam01.prod.protection.outlook.com
 (2a01:111:f400:7e42::202) by SN4PR0501CA0128.outlook.office365.com
 (2603:10b6:803:42::45) with Microsoft SMTP Server (version=TLS1_2,
 cipher=TLS_ECDHE_RSA_WITH_AES_256_CBC_SHA384) id 15.20.1143.8 via Frontend
 Transport; Thu, 6 Sep 2018 15:37:42 +0000
Authentication-Results: spf=pass (sender IP is 67.231.157.70)
 smtp.mailfrom=lathropgage.com; newmarketpharma.com; dkim=none (message not
 signed) header.d=none;newmarketpharma.com; dmarc=bestguesspass action=none
 header.from=lathropgage.com;
Received-SPF: Pass (protection.outlook.com: domain of lathropgage.com
 designates 67.231.157.70 as permitted sender)
 receiver=protection.outlook.com; client-ip=67.231.157.70;
 helo=mx0b-000e6701.pphosted.com;
Received: from mx0b-000e6701.pphosted.com (67.231.157.70) by
 BY2NAM01FT035.mail.protection.outlook.com (10.152.69.8) with Microsoft SMTP
 Server (version=TLS1_2, cipher=TLS_ECDHE_RSA_WITH_AES_256_CBC_SHA384_P384) id
 15.20.1122.11 via Frontend Transport; Thu, 6 Sep 2018 15:37:41 +0000
Received: from pps.filterd (m0134568.ppops.net [127.0.0.1])
        by mx0b-000e6701.pphosted.com (8.16.0.22/8.16.0.22) with SMTP id w86FUY6j003522;
        Thu, 6 Sep 2018 10:35:56 -0500
                                                        1
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Received: from lg2010.lathropgage.com (74-203-210-1.static.ctl.one [74.203.210.1] (may be
forged))
        by mx0b-000e6701.pphosted.com with ESMTP id 2maprqa94r-1;
        Thu, 06 Sep 2018 10:35:17 -0500
Received: from LG2011.LATHROPGAGE.COM (10.100.20.11) by LG2010.lathropgage.com
 (10.100.20.10) with Microsoft SMTP Server (TLS) id 15.0.1263.5; Thu, 6 Sep
 2018 10:35:02 -0500
Received: from LG2011.LATHROPGAGE.COM ([fe80::b1f6:162:64ce:264a]) by
 LG2011.lathropgage.com ([fe80::b1f6:162:64ce:264a%12]) with mapi id
 15.00.1263.000; Thu, 6 Sep 2018 10:35:02 -0500
From: "Lang, Greer S. (LG)" <glang@lathropgage.com>
To: "m.ridall@aborisah.com" <m.ridall@aborisah.com>,
        "m.ridall@newmarketpharma.com" <m.ridall@newmarketpharma.com>
CC: "Stahl, Thomas (LG)" <tstahl@lathropgage.com>
Subject: VetBridge Product Development Subsidiary I (NM-OMP), LLC v. NewMarket
 Pharmaceuticals, LLC, Case No. 18BU-CV03640
Thread-Topic: VetBridge Product Development Subsidiary I (NM-OMP), LLC v.
 NewMarket Pharmaceuticals, LLC, Case No. 18BU-CV03640
Thread-Index: AdRF9xKN8FYNOR4ZTwakfFTVaEQy0w==
Disposition-Notification-To: "Lang, Greer S. (LG)" <glang@lathropgage.com>
Return-Receipt-To: <glang@lathropgage.com>
Date: Thu, 6 Sep 2018 15:35:01 +0000
Message-ID: <f664107ae3004589b9b4bf110278ce5a@LG2011.lathropgage.com>
Accept-Language: en-US
Content-Language: en-US
X-MS-Has-Attach: yes
X-MS-TNEF-Correlator:
x-pgma-masrq: I
x-ms-exchange-transport-fromentityheader: Hosted
x-originating-ip: [10.100.20.128]
x-exclaimer-md-config: 6e348829-c92f-4b44-bc6f-6b3419cc6e0d
x-exclaimer-md-bifurcation-instance: 0
Content-Type: text/plain
MIME-Version: 1.0
X-CFilter-Loop: LGDLP
X-Proofpoint-Virus-Version: vendor=fsecure engine=2.50.10434:,, definitions=2018-09-
06_07:,,
 signatures=0
X-Proofpoint-Spam-Details: rule=outbound_notspam policy=outbound score=0
priorityscore=1501
 malwarescore=0 suspectscore=0 phishscore=0 bulkscore=0 spamscore=0
 clxscore=1011 impostorscore=0 adultscore=0 classifier=parse_limit adjust=0
 reason=mlx scancount=1 engine=8.0.1-1807170000 definitions=main-1809060152
X-Proofpoint-SSN: Sensitivity3
Return-Path: glang@lathropgage.com
X-MS-Exchange-Organization-OriginalArrivalTime: 06 Sep 2018 15:37:41.5041
 (UTC)
X-MS-Exchange-Organization-ExpirationStartTime: 06 Sep 2018 15:37:41.9573
 (UTC)
X-MS-Exchange-Organization-ExpirationStartTimeReason: Original Submit
X-MS-Exchange-Organization-ExpirationInterval: 2:00:00:00.0000000
X-MS-Exchange-Organization-ExpirationIntervalReason: Original Submit
X-MS-Exchange-Organization-Network-Message-Id: 4d3c52b1-444a-440a-e31d-08d6140eaf1d
X-MS-Exchange-Organization-OriginalClientIPAddress: 67.231.157.70
X-MS-Exchange-Organization-OriginalServerIPAddress: 10.152.69.8
X-MS-Exchange-Organization-MessageScope: 87b401ea-4ad5-474e-8850-b094c6406730
X-MS-Exchange-Forest-MessageScope: 87b401ea-4ad5-474e-8850-b094c6406730
X-EOPAttributedMessage: 0
X-EOPTenantAttributedMessage: 8bc7e518-5044-4a13-a275-8730d9e7ef0e:0
X-MS-Exchange-Organization-TargetResourceForest: namprd05.prod.outlook.com
X-MS-Exchange-Organization-MessageDirectionality: Incoming
X-MS-Exchange-Organization-Id: 8bc7e518-5044-4a13-a275-8730d9e7ef0e
                                            2
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X-MS-Exchange-Organization-FFO-ServiceTag: NAM01B
X-MS-Exchange-Organization-Cross-Premises-Headers-Processed: BY2NAM01FT035.eop-
nam01.prod.protection.outlook.com
X-MS-Exchange-Organization-ConnectingIP: 67.231.157.70
X-MS-Exchange-Organization-Exchange-Diagnostics-Stage-SecureDataContainer: 0
X-MS-Exchange-Organization-Bulkv2: 1
X-MS-Exchange-Organization-IP-Bulk-Level: 1
X-MS-Exchange-Organization-BCL-Source: IPBulk
X-MS-Exchange-Organization-CyrenBCL-Standalone: 1
X-MS-Exchange-Organization-MxPointsToUs: true
X-MS-Exchange-Organization-DKIMBHOverride: Matched
X-MS-Exchange-Organization-SpoofDetection-Frontdoor-DisplayDomainName: lathropgage.com
X-MS-Exchange-Organization-VBR-Class: GrayBest
X-MS-Exchange-Organization-CompAuthRes: pass
X-MS-Exchange-Organization-CompAuthReason: 109
X-Forefront-Antispam-Report: CIP:67.231.157.70;IPV:NLI;CTRY:US;EFV:NLI;
X-MS-Exchange-Organization-Originating-Country: US
X-MS-Exchange-Organization-Scanned-By-IP-Filter: true
X-MS-Exchange-Organization-OriginalEnvelopeRecipients: m.ridall@newmarketpharma.com
X-MS-Exchange-Organization-MxRecordAlignment: 0
X-MS-Exchange-Organization-SenderRep-Score: 1
X-MS-Exchange-Organization-SenderRep-Data: IpClassLargeGrayBest_GrayBest_Good
X-MS-Exchange-Organization-RepTable-Version: 636715296000000000
X-MS-Exchange-Organization-HMATPModel-Spf: 1
X-MS-Exchange-Organization-HMATPModel-FeatureReputationValues-Spam: 145;-1;14;7;7;-
1;18;18;7;-1;-1;-1;-1;99;-1
X-MS-Exchange-Organization-HMATPModel-FeatureReputationValues-Phish: 24;-1;0;0;0;-
1;0;0;0;-1;-1;-1;-1;5;-1
X-MS-Exchange-Organization-HMATPModel-Recipient:
<PII:H101(rs0hTuZOsoUGEPwwbTYNmt1ujPfwvLw3ScRuhf3VKfc=)>@newmarketpharma.com
X-Microsoft-Exchange-Diagnostics:
1;BY2NAM01FT035;1:vQNUOdFCXV3p144Waw9FVfwhzzVlvb86uPrX470/n8CO5viXYauOp8sVLZYXwBoYkcaI0lR
fZvGYzzTfo8hFtMv9RKKQfP6gFGq9cubwHVTQA7JABBCvefLg9uTqT6Ib
X-MS-Exchange-Organization-OrderedPrecisionLatencyInProgress:
LSRV=SN4PR0501CA0128.namprd05.prod.outlook.com:TOTAL-FE=0.234|SMRE-
PEN=0.204(SMRPI=0.050(SMRPI-FrontendProxyAgent=0.050));2018-09-06T15:37:42.317Z
X-MS-Exchange-Organization-RoutedUsingDagSelector:
X-MS-Exchange-Organization-MessageLatency: SRV=BY2NAM01FT035.eop-
nam01.prod.protection.outlook.com:TOTAL-FE=0.625|SMRI-PEN=0.621(SMRRC=0.180(SMRRC-
TenantAttributionAndInboundConnectorAgent=0.157
 )|SMREH=0.172(SMREH-Protocol Filter Agent=0.171))
X-MS-Exchange-Organization-MessageLatency:
SRV=SN4PR0501CA0128.namprd05.prod.outlook.com:TOTAL-FE=0.249|SMRE-
PEN=0.204(SMRPI=0.050(SMRPI-FrontendProxyAgent=0.050))
X-MS-Exchange-Forest-ArrivalHubServer: SN6PR05MB4816.namprd05.prod.outlook.com
X-MS-Exchange-Organization-AuthSource: BY2NAM01FT035.eop-
nam01.prod.protection.outlook.com
X-MS-Exchange-Organization-AuthAs: Anonymous
X-MS-Exchange-Organization-FromEntityHeader: Internet
X-MS-Exchange-Organization-TransportTrafficType: Email
X-MS-Exchange-Organization-TransportTrafficSubType:
X-MS-PublicTrafficType: Email
X-MS-Exchange-Organization-Antispam-ProtocolFilterHub-ScanContext:
ProtocolFilterHub:SmtpOnEndOfData;
X-MS-Office365-Filtering-Correlation-Id: 4d3c52b1-444a-440a-e31d-08d6140eaf1d
X-MS-Exchange-Organization-Auth-DmarcStatus: Pass
X-MS-Exchange-Organization-Originating-IPHeaderPresent: True
X-Microsoft-Antispam:
BCL:1;PCL:0;RULEID:(7020095)(4652040)(5600074)(711020)(4605076)(4608076)(49563074)(140118
0)(1414027)(71702078)(7193020);SRVR:SN6PR05MB4816;
X-Microsoft-Exchange-Diagnostics:
1;SN6PR05MB4816;3:E5bqQ6zZ72vZ7N2tsrS59W+BhtwuoXAG2qf9nUVzU1qdeZQFurJyX92sldoaOEFchQ+hZTv
                                            3
           Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 7 of 104    005
5Ii2rcQtcW3tyJkGCzvANOp95JSV4nLZrDXgsYOF69ZQC6iUSPXnnJSNKEpfOBKYeFit+gXrwGCZHQYC/pL8kcfAf
vcxfAyizNyCh6TomSF924Ebpb0bm1w8AJ5IFxEdkFM3vtopu0Qy13qPQsh7ajTprfQf+weQ7iNFxYwkFN/fQJDP1U
bcoJmE1j9fcNxprInv93rGFfRWD8zJC5+vK7a/wd5J7gWcMAmtdOEyrPAEQc6c7RC3WrWBMSYbgxoCsnsx6ena8nh
4xLV48OiNIQRy/rpY5PymXdck=;25:0Y+zv9QVwSkC5WsJcORZoHY1G4OoAnps3Om6UGtYFF8evsvsG0HPfXBUSyp
LXE0UZTGxLDiAEoFUXrN/FSM6TmquFuuSE5SbBTRChAHbxE0kTxto19cyupLtwOOBMQCeG4X3PLvy8m6tLinvRvO9
Gd71SNHvSEf4VgCfhYS0VESoYjnwEzxYUUFxeihrSrQf+ThUnoKo7Sy4Q7cvd1Ph/nrTaTyKh9JC5r+8nZs6lvkkD
ED2S4FgZB8IqvoH2TZu6uu65ROgDF8IcUEz80AZrZwJTj/MdvdDONs9bgfBgoHhDFOD1wdKGiS61khLTdQ4bKRsRi
fgSfZwkrcT8XGHsQ==
X-MS-Exchange-Organization-OriginalSize: 26012791
X-MS-Exchange-Organization-Transport-Properties: DeliveryPriority=Low
X-MS-Exchange-Organization-Prioritization: 2:FlexTransport: Deprioritize.To:
 Low
X-MS-Exchange-Organization-IncludeInSla: False:FlexTransport: Deprioritize.To:
 Low
X-MS-TrafficTypeDiagnostic: SN6PR05MB4816:
X-MS-Exchange-Organization-HygienePolicy: Premium
X-MS-Exchange-Forest-IndexAgent-0: AQ0CZW4AASZIAAAPAAADH4sIAAAAAAAEAO192XIc2ZleragFBFsaW+
 HwXJ3QyAogXChWFVaSNyoCIBstYjEAsi0rOhyJqgSQYlVlKbMKIBRz
 ofEjeK489tgOX1jh8NhWxDhm7PHFRDRjrvwW/QJ+Bf/LOX+ezFpQIN
 lEawQNhg3kctZ/+f7t5L/6L9mF8l5QVUde2+l0KgvlkwsvVGde0FWB
 2w/c0O0NQvXaHTwLvPa5qw4Dvz1sDdS2e+l2/H4Xbqvj4WnotT0nuF
 a7anF/b/lg73Cpol6+3Kqqw47rhK4KXVcNLlzlDAZO68JtV9TVhde6
 UFdu4EJvHbetvJ5yevCfMBzCX2eB31VbXtAaegO15Q+DgfLP1LNh68
 LpOT280htcV9QePA43PeX3VHN4PgwHqvG4ohq1+uaThXK9ulA+Hna7
 fi+EmTXgr9du4J150P6hO/AGHrx15gdq2+k6525YUcd9twX3W3A7gB
 tdp9dyaVS7vV8Me62Bd+mqI7fjuWcVvLxQXoE2t/wgcFsDaHTnrTp0
 goGr9nxp21EnbrfvB7g6R244CByv5/XO1UHQdgN4u9lu00Bg9WE+V9
 BdYJYJH8NFm9KAgvWHJWyr02t6VK9UTx27/YHbPYUn1ng5zIq7vV/4
 Xi+kWQW6uVDtu1d7TvDGHajDCwfm3XKHA6/ldELaRnoYm++7Qejrl1
 t+jyih7YatwDt16YnA9XowKb3rPX+A2+4MIgL65tf/JlRde3mAyDpe
 1+vh/Dy9zH4P1jeE8f1yCENk4vCIDhPbV1EX8Nyp6/aAxAa6xQvXCX
 CF4CVak5mpqKK2vUsvxLHVYQAD9fjJSk051W41vqT1VV5TmOmLwIUL
 x1X10umdw8Rh+3tusFB+6QwuAr+vXgBhwRIeAvmtrK6pFwEu3bPOZb
 sK1AajclWjUastlH/q9EKYyZYH4wGOPFgor6/Wa5vLjfX65kJ520MK
 A4rerK9XV9dr1bW1el39MTzonwLzwI2NzbXq+uN6db2+tqb+WD133u
 qnG48bVeihvlA+78AQf9LhgZ3DuKotv7tQHrlAEsBd7jpeRy16vVZn
 2MbVdHrXmi6R6cMl1XWukQgGQEDwO5Ch53R4txfrS8DHePPMa8PDeA
 PnjduDOxL6HVcNgUBgM/BvD4i413aRIFte34M3iL3UYoN7OQXKC4CW
 kMkWyprUYSx+0HOvl1sdfAOegL3ruOduRW6pKz94g68yofqtAdAF9B
 ooH2lVwdMwsmDYccOqasL8AvfSc68qCkmSeB8ebXvAJN7pkEgW+qZX
 Q7wD07lyAlqcK29w4Q8Hyn2LMjNERukCUeErsBDYQGvQucahXHinsO
 vtqto9U9f+kNgd+GTiOvSZlWihW/TYQjnEpwJaorbbcYGIQHrAI/BK
 CDSpdvfVyec7amv3aOvV7onaOnh1dKIOnqtnr7Y+b+439/HK/snPgP
 B3j4/hJkjt7d3Xu8e7B/tq/6Cq1JJS7y3zKyDzgSQG3hkIyUtY2Omy
 BXjOPYP5OL1BFfod/T+1hfPf92FY+n87/1wdNo9OdtTewQkO+fnBkT
 rZ2Ts8OGoe/Uwd7RyfHDV393f3X6iDo+2do2g87z0ntfjNr/+dJcP+
 HC4DKbBYDPzh+QWs/rAXuh0m3P4wCIcwIzXwIxV1BHSGFL+FdIoDaL
 ntIew+MGitsXgKTXb9Sze05DiLs4GI/8AS/z6K/4oQHpCQ1wLShw5Z
 wscEfLTGN0l6nKg8DBNFOpdXeOLQ3GngghzAycQFu/sWpEWIWjLGNY
 F3fjFgrdGBUcI6qXMQhCjYh0TJOGXSLyA+gYahLfXFEDi1sUGCdhU0
 q2l4224YW3ypW2yegyimfcQ5yF88ZoM7UKvsvCUeVE1crPj43wce/H
 gUHGhySbTFIyFg0yZ5DgIBWvd68hfwevscNrcCe9gaoqqhPxwQJOc9
 +hV2sxeeuQHfgEXu+yFRw5lItSuPxcWle810wmttRLjeC+oYoUMIf8
 COomT2n6h61d5tWJGDLqBA51cosLePdw3bwFpADyFshe580VlSgdP3
 2jCLNhJ85xLv4CINQcF4CBpwjFFriyD/WSOcwrCZAoCqBrSDxEMgjF
 F3wCbAm8NOC6QuUZ9RSFZjvIIqvAaw0IX9ganxQPHtRRj4Eoy3i2vF
 Q8FuUf8gm4Dk7Pm95YshbCd07HWBF6xe3BA3HdGZAjSC6kM/o1XU6R
 Ivq8vAAS93YF15zhVa5y6I/UsixhBJLgT4YZRSqBZbfqfjEvUgAMR1
 AOKZsOxL1OkjaFTt4EuB30PehbE9Jwy9HGGb5SQehiu1zSdrq6q5p+
 qbz14tb72urayv1hqqkdz03cNHh6DQYSOOmFpAHzoDDUcDd+Db24AL
 2KenmcP5d+X0+8DrZhnwBj7Y1viK1g91mtcbmmdify57vWWUBhUSrL
 Cg+EeImnnZfesgXNRvAeJEiwF+c99Cx6G5eo5ywu4+HMKIaBdQlMIS
                                            4
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IkVEF4C8BsjbMPpQ8G7HewMylQi0DeQG5N4yQMYFluSGQZ13Q42uW6
BquvTqqdtzzzzCm4BM/ACAHW4+0opGPdjIuU+MfHXhEiABery6wE0n
9lS8ABOEhX/VQztKC9S2UIbfx0kDMSyibqCeiOexd5IEsBKny/o1gH
GgxyKdgAoHuOAMTDLPIfAO++2fERrXw945O2NyBbk4EAhnSd+Y5F4i
CDUMjC0DO9nFd0LHa0cvGeOE6MzFkeKzE2WP3h4PWo7UN6hPpzc8A5
AESpUYDzjcIlTYR9aTCs0N1D1Ix7wRnY5/BY88Ubuwl2wWBOpaaSZo
RqSMzeqriEiA63BitBAn3gAGWlevjtV6/dHqysbG+oqq1R+t1B/BQt
SVauCt+sqjldWVyvrjxlNj6sLSblY2Go3K+so6vlBbxRei+7W1R/AW
qcEmiZ5IUIZqhRqFNzbWKrX6Y7vReq1Sg1ZX1uvURIOaiFrdeFTffE
SCQbd6ErW6are6UrdbfVwBkVHZXFkb2+jmoxpdWh9pVK2pLw/U4dbJ
o1fHOD14sNZYbUTzHX1jXa/l+sZqZRU73HjUWOFn1Ybc26ysgMmD7W
zqe5vm3mq9slZ7rGoAsNaqfO9xchQbNZiggt/qG/x6HBaN6o2puqZe
0yu38nizUttcgwuPVmq8eapOxFFffwR/VRqPa0rV1h816rwJ8L/xqi
ApjBlGfJD8XzGm8XPP7bSxX1uX441LF+05ssm1nXY77R4p1hn06oUf
hFrosl0WV7RLdOcEQQ+Yddc3DLfLgkxP8FWPOP14QGIdnm524cGWk9
BfcAPdCyE9VtHglUTNQHfruVruADHAYLWaiVrBzrb1awTy/Q4AOM9Z
AkOvR7rHZ+fDAK1r9g9VLHsEWvIDhPk4zlPEE4DyXMSXE/weLDA9dH
7QXtD+w8q0hgG8hwoCRTeqABLeaCWAlXI2xAXXrhLQDtpjo778fOdo
B+yonYoY6cCG5OuJHp7shPkIFlZABDHgAWrHT8juhMggYv1lLSFtCf
nApjvaKmJFeQjkyEJiRNyOWVWRnWRNZKzV6iRWhsyXwAfycNtTPXa8
X6CDQQkhbZptAvsW9Uj7CUgCw7qb2s+ksJ1oeaKXT0FOvGyefH50cA
iGyIvmix10NqlnP3uiYp4pFC/JC3sH6o9Wa/XahoKJAo9+WWV5EPKd
tY3aqrKdVj7Yr5dO0LYdV8r2W0WmroqcV7B8gEaeKMsXVSP3lH2lrs
Y6p9TpGQ1o5Lpqag8Pi+SI/D4IFR8cbzXVYm1jub65pI731mtq8Xjv
4HhJPYc+mABfgTA86HWun6htHyw0pOnd7T8CPL2MTy6vrQAAQC4HZb
9og+wlsv5DtbZara1X6D8b9B90JcJ/GrWnSq3V1qtrtVqFfwFVcnS8
5yvjzVk7+Vx98Wp7d2u3+dK4dipTXDpgQSP1ov2qQfcTtbfzEm431R
4QzZc/2znSvhUyNYHu7BGD2YSoBlcQxWe3vxQt8yPD+fjW652TZ0e7
20B5h0cH26+2TtT2zuudlweHezv7J+r41bPj3e1ddMwkOV6aQ5vDap
JMELPBj5rtNnrUgJ6PdmDAx5/vHoGken4MM9h/oenzqLm/rZ69fL0N
3e2e7KjGKlJmc/+4eQwrRatyoGmSPFLC5Y+Qrfwe+iifqP2dL/eaRz
/dOVGHnzeP9ppbO69OdreaL495uEwAMhxr4dnB9vnBq+MdtQpK/otX
L3eO1TFMvrkLS/DFwfHO4edmDGtA7McnzRNAAkc7r3d3vlSf7zSP0F
m13TzZeVKvLzeQANVP1OaTlVpzr6K2d18DVe07iGuRtpD7nqitrfHu
CKUDHswY5K8HFHPsBpeA+NXBcAACmJ0tpBSxQWHbxZ23Lbc/wMXXbl
7VJFyzpE7GvoAug5vWrQmWBKwXYMrD3ZOt5u7Rvmq+3tl/taM3a1Wd
HAGlHOxX1P4XAIk21xuAhthnebwDtH7wXCXJXP1Me05DmixhebQ4XQ
flKxpWrCRatGdkLvikItHlGpBPlbW2r8MaRpG1/D7ZZ6Jdo4CVbiWE
lQRoIk/GGxwCNcW806JO+8I8faF0pZWbc+pjm0xaBEhQIYBSWamptg
NCzjlDDRfqTTQoItQ7TZ3COCqW/00DI3ibrC1+U5zOZ+jbH7skFfUL
EBu09YBC2u6ZM+wMYDgwplNYVOeNCzr3HGNGA25J0AI5vtouUGGbAz
Y0RofoBxTYv7z5f7M8E3ueJNRWxw3eqOew0Qgdd3vECQMSd0odgCXb
0iIFRopsYAQM3Gk7l2yhG/bY1W6AawIe5A7bVU5XOUPAT4H3K9cigT
46cENynrXIo8tTDc3eUaCDOSYQGHmNpn7gWrtuNvGKAAU03K6iQ2YP
9w3GTjEVsixhMWdYEpjMhDsm2DVyY5FGCUB1BWd74eCgaCBjRnkKmg
8A+IXbeqOAgpcUBiCA3si+j5iC5q5fIddP7I5hAMN+bRHHgYhjoBig
yMv3alZzVfvK7ZB5DqzHoZxhOMRI1KnfjhhkTN+0gzcvdgWDlyRgRx
ojjRY1SAR35nQRe8JqMsdgYBDeq6+paxBb6EDyKWzk9Bi+w+sgqZmc
pi3TIrKgiIYeLQpbEiS4P3B/bia5iI56ThcoYvY34BUibSA9Nvye3F
YC3OZ/Veb+NpLHt9ODWtQifAmFwtRHJzCj4cUKbuTIvTbeSg4f17BL
S3j78d76DX7tMPAodrMP+03S8wItwrNIwKpj77wX4ZWR24vHrtNZIm
tQpw6Qg/YKNCbSnNbgXa3EE2twnSQxtQh0PLiwLqtFZKklFt5P4vKK
KLxFOkOTe8vkBbDSR+cnGoCovHoshN2gql/8BWPq270Y1x5OuwvmYI
gK3QezJlQxXUEeYGyNRIRucZI4rlIUhXSwPxws+2fLWuFw30s39o3i
w7RAs1kGEOXz7lKnwa34OUkoERmQB4fUmFG1z12QbQar/mjc2/vAAz
sAM8be3APkghJ07E21mLgCkhd6+4n6kZkNSlqFVwHZ+gNQCmPb+dJt
99wQSK6SNBsfhY9+CnbEwbOD43+BEez+cHDNSOSjGJGNj21EHuv8K3
F1qz6uXuTPJOQCFKJJR3WdN/hU4ML29VAaWeBTqG879qrGWmqPXz2S
V4+jV82Gq+aMukinCnVx8U8FmMAVCkCPV4kAcjHMMla1B+7ZEJ2NMF
4Yu4tQmVl5/GB09wDaiKMx1aqi8S7NLrxwGBn3A7fvYCKW0wL1i0ga
/TQ+ud4AMV74V/QatWE6MmsND2gtPal/E4+aCjBoak4nObUQpDTwud
kEGXHXabtPKFXnoAewGSNzbYBHVfwT5JcnV2LBPrxxhjKJglHoHHfJ
                                           5
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N62BEIZXLgxso/QaWIZIppwPMV/G6VXYuJgBmegF0EgxGpTukNrHGP
L1DHDRLOYg0RatnqDFC5883gYtavB4pmEjobHQ77oJ6GejO4F0+BZw
2Xshu4qe1kyrZCM29LafUwQ2Ev2nsgkkbaBl9LB6OnGw41zZRGNxur
ZxnlImFtDFC71/EZFMoQWcNmbnfRuEYN63yAAGuUKD3Irgb0XphLzw
wuvjMA/ISHzVs9ztbdUMQx8MLTZUDxIIukJRWKuJYfxlJ3r5fSYTIQ
XpiHYeiMU5N/kbLlxFw+XcogtD7lp6eRhAGZDcOx2GXg8tU274Zksn
yuw0vNu6cIJzif6OUqLuEMbvUXbAOWEKXI1zTV8m1E3r/S3Q4ypt9e
HwtOO18P1/NnRCb1n/bVEA3nvmt6+r6lWfjKM+PVIBjdID67qP4u0c
ubZHiQAdfP6X1BY/aJMCrQO0ZRBby+HQmMM5CtcVQ51d5xohGWAqjP
prsKn/EsfQaCOe1UTrAt0p7lu3NRywP4d1RfItWOMbZlSZaUrRlhm5
JrlEsB067IB6KiRMh14KUSk6RRMVCmfFyWgRXjA2im++3uGP4EihZB
pDIYC8cRAThkY5cdfjmtIcEgsWEozQcAPfjB6vYPwlBIE75AQJzDJt
Y6RWnsC8OeMYMzep2yreIV+q5k0Ns2iKZsgIdcIrdGXqVAx2U4lfU5
svFbO0+i/ob5p1YjF5zECJsmH13ZssBkoPjobFwx3oZBGFxmiFlSa7
TEGQ9Rjy6AlWIuyDzi0UNbDhESrSRo9keZgLpKX14DiX5mOQz2TK0Y
iTSKeDHQwuHArwk0e2hzKa98OJ/LSU3Md+V70eY6WuF1r+ahw3blWV
6EJwpT/stKV/mGO3P8CkAEo4YkKm9DhkSgqSetpLy5mZ2LV46ZkSpr
mUq+qDc4aXPiBh+KcuaB0MZ3QGv4IOUPUhjFqpNTBcufYYdNTxIHBd
aAWW6Qs/dPsXFE/BcMrGbfON8aapd5HOVtWhN2g5Hqx9E9Z16Joo5y
ompPQGqN2hYfUFMAkIb45S3JC5bP+fJDG/3jnafb67s60Od052JX15
u7nXfLFzDJ0e7mzB/S24fQQ39pr7WzuYYrr/xav9rZPd1zvqaOfl7s
5z2I69nWNY+S/vIL0ZZRsq/pZDthTqIU5/MZGBGZKME0nFnHph8gTd
c/w91OZq+ITyvXdhvvXq2Ol6hDJ1WlfHc069Dmle4BpCIcG50yOJRu
kCb3XySJR7DPpI8ttGolycZE0T7gP6IRUbmQWCtjp+iwHhwKJcJaRb
idOu4U2k4E3y+I9L0f5W5rXtwmUHc+RuO6/JTFKZzCXjZ6YVs1awNJ
DjiU4Ayca2cK+GoAZcoyuSpOD0ycyEd6vq3b/9+q+//j/f/Pq33/z6
f/+/v/iTb379p9/8+j9+8+v/BFe+/lu49ddf/0a9+zO4wI/9Z/XuL9
W7f//1f6U3/uzrv4Wn6R+6/h/wOt38G2hOvfvv737z7n/if3777n/8
3Z/QI7/9uz9595+//pt3fwFPv/tThdehuf/17i/f/fn//TN47r/93b
9+9xfvfttQX4DgPd7e3SLB8WPFcdQVrZTZu4Qml7GKABEEXtj2mDvJ
OI22wC5SQCdRVX39G+09Qq+ALsCpMOR0UCHD9pxrsIC65BzY2W4EbC
3nPHD6F6q+innRJmH0Nrn7Enhlk+n0F24rSptydGmYVSpAeehuj9M5
49O19P+XWEUGVGtnaAkLMhJwqMVrnfbknGKqG2aVAfwh1ysSV5Tnr8
OdGLTruQg/QKo+ZTDqRHOhu+dg6zEDmVQlQpRoO/XGC5ynnB0bNYSZ
0W6336Fm+lawH/iBkpMjSYidRFtsLcEYsXZDamzUDNYbIZt0h52B16
f0vksfti6MVVDgfGRRUUX0nWs275JlIvA6bAjdI8QUDQmHH3/WyvA1
Gc72CujMPc76o6mEDvpIESuDkTQwSV6xepRIQFqbxUtF6s2guDE7I4
tSEdUodbIOkkaoc8JDtnpDqj3hqq4QpoJ2fNeloYYTCUAD6LbOpwdC
R3mm6yB7w64LHQOTY2KVwkQnhpM9LUfjxMAG+ugIeXTTaBBXRTpzsR
zQztFsa9e1qSTF/MYEPUyjvqdRU2RkUmGLQ1W0MWE96f2qifhXEvQy
gkk4xVE5gY8m83DwXmIpxlbUjxmwrk+ZadCVBHteOFiWQJYQdoKWVn
fYNbV+lrYazbwhUSPZke5bN2h57BKYSfbH0zM4yTkwPbaHYlVV1SpA
VlT18gprGS+kbEc0G8eqkc1qrV5bXI3URxLVYM0NO0IRPlM8FGHpM6
ks24JVQMtwSa1V4y+7PUwEJGbQ0gG5vB0Mz42P6lqnZ4dcD3dBogIX
6pdDhxAU0oDkmVOZnSnqAZGKotan4ikTTmNZwRV5JuUZbMnWRc/v+O
fX7MGnkdwxdFhh3m47feBdAGI+yhtZFBmxxxJSgRQGTeeFWBnXdYFW
kIZ5uwhNUmXYcNAm2UNeXleoNbnUVbVeHSN7ulQyHVK2FuNW7NzaQl
b0LaS2s2EnKclHhTd5vahS4MJ1OoOLFrYs5VT4uJUNTkU/lLsdxTAu
nRbPk6Rr0j4hfcrVReyzJoMb0YNcq6qNalQGU0mUKqJxE6+R0YV/up
iT61+AlRBtLK7UljhYULFVCwCHvaiYJUjoRbovQssPKnFY4fQ+sFyS
pYBOyI6SdCZV2tAaX1einRu7ZxbunFBD+D71g5p+PlLl4AfXDVYmlw
uqRVZE5HepJJTJ5Io/Xb4KktmFDh3GxVy8ZRUvxFtDcqVCEopfkZQe
XNu1ecH4qr4qlsQGQ1cf70CnWsTssIhmrMxIxS/HK2v5JA8Vi5RoRW
wXN1QVmIeHlgKJ9UK6w32Lqds6Vh1X9Ra+JCKgQH44JP760WqlVqvR
/3NKCTztUQETFmN6bVdOI8BBxZlvjJmD9a1NiV5ZUi4kIYf+XV8Lqy
gH0/KkUlUfybN2xLem+gA3i93v7UtMP8SyNfT4+QPXcFUlek84jpNm
kCyoaFvu66pt+5quPsY7M5b3Rsyy6N26tPfbqOr9NnnzKUwSZzm2hn
dcCS/O624V/epsG8kwG2YH00M8YKlGUZlasnNkJgER+eAJhGFD1obI
m23OOKZikaQQH3DR2serH5ulMPuGArIK0r2Fy9vuGRn1J1FEJz4JjO
V8qqqy9ykqg/k8lerzF/okBQsewPgpqtDruZErxGot0sp47edx2vlK
iMdM11onpxfJt+g0AsCQKLLcoO+SziG55l8DE10vnwHB6AJk+/wHYC
Iqz0X5VdFpMZTI6mBTHpkjDHu2LcE3WtFs1TKPl9w/j/HJV2r3UEL2
                                           6
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xvF40yKY7Rh1kowK1Fippt6Ju6qU//tXKI/rDUt6x+XyEUl99T4F82
Pr4cm0nlIP/3N8eBKN3qYiPl76q8OJcS7HVb5d2fzd6sK1b7Ns/75q
f0zVvnrPsv0pVftTivbvsGZ/pGTfqthf/Dwy6JRdus/2TaATKMJRW2
9cSX9VPZ5qCsVNn8i8oSgDWzhkEWtTpHNtT9x92yfxpQVKe4xRfyMa
mFUsJLtMalvOlKUm+uiTxQQn7TPwTwe6VBp0IgBup8OZURhS1GS2jV
4+m7MpltzcbpLjghCEfbyO1klk6k2wQyqRv/+52yYH/XPfZ9HIvekU
GFaStPzY6XPd5xaXn2vz1ADGPe1No0e3Xu/Ro9axiThJiRwpKnMGne
hR4TIgRlhjcsRxhMEhd1FbR6iMYxRrwl0ngNkecBw4WpCtowN2HMCI
iDcqarfXqpo4P12iEU2AiZwzXK9Vla4InWp827a2FXuiAxwx5yX0AB
9yRIgjN2a/z4a9CCyTRgf+7GtU4YRvrOAaUqy23BMRBjWqGWMI1iFM
6eghdDVbRDD4xjhYRJXYUzQiQ6NW2g/RBCwObLhJftL610yZTXf86+
PO4q5j1usgKm33L0ahOWtQ77nL7mD/tOOda5MvCsPFAy2U8oSJZPh2
3McDCH9IYSumLx2HTFiu49yXlsCEd7UZizTlXI8bB53agTtHAYF9tP
3x4M/GCjl51yqxmbbZtxQNYLw3qoHaELiKcj3CPuZNtH2KMvgM4IDw
cOhgLzJbxBlOQnFcY2s7jHm1HTrsgH1KZ6QLBr5ZfS3zmH8IvGnWk7
xb61nOmJvCiMwRSO2RoBYeMLQ/gVuRCD6Azp+SsLBPHI3OIpyBvmD5
V6qqiQEoraf0UN962CBSDdY7j7hUb9VJJcEH4TDE9dKbo403V58FR7
c4o9Thk1Lb5rjBWTC4q40wUbexI2WGBoVw3q6lZNF2R0IK3sRNQMlb
xWJOfWSjf+6beer0jEF0VCnlYXY60+RXlMrZY/f/mRc7U/qKch2p8B
j0Ga6TENPEEBBp+SneS7LKSFhocGQlc2DQFEmHl9VK+NDbg0lJjoZy
aMp2DWQ6ZccUN8u+ac6zVz/arBv5AiS2akWn+zNAOg5qUi1sW2e+U7
yWY/d6eNGZAnQ+5ujOy37jyLAMvmV0lk3+IIGadFhsr60Bch8T7Skv
FbruYnKdqLsoQky747d0D+jfxTOXrxyPCtat44M+9lFAsMHXOiQZnU
zgWhEvWqUz51L702dMQfR7EnPWTG0f+fmEHP5x+cs+0Bm585Mx591q
/Y0ZhcOMQYdPKyZElcwgKp6Sq/UwcIUGtdvWokpznqopMLsA2w7/xO
gXduVfERdz+QM02EpS2MysDi+3+UiWlo+nZMXz47Rr2MUC6xYe+cUn
Y3BigDls3mSwOfZ5w20XHXS/wMx3rRYxwSPScC08Sb2LiqqFBRKagS
ZkbdTXCUQRauvo+Dk6jc+4DpbfTPCeLRNxKaOc4LbfHyQORuOWsbaM
mSN2HNfXf/X1X6m6WFAI2ah0epbD0Oob95b4JEscLO0PtrITRtL7WM
TGiL3BgN3koorIvNCgVCsU2CF0M+sIFULiMOnf5fAXw96fx5zRfG4c
p1d9pctqDeb9udDIV2NiFl4Xc20Ybhr7hlYn5lg+I/HU9SlfhgwMHI
L1BI406odKi+qPq+rZR7ZXxpr94Yhvnl6lz3mYYitt/JP7WhJGbf6m
8j4txS3rDdkwZs9J+qJJxI1ZgsYE5E+JaAWZJP14zp1ZTaIUPkTLxb
ShXtvnk/0jd4vnhpNoLMGyUwybuzbON4EIJnLCGD+EUKoDXDdIaG8E
p0Fbp7lGpy2R1BkXgIMNGAZjPwMitERbx+cikuTUYhNVM1XTU/qejM
58Y4HEnZb9co6j1xqjDBIYuFGnMl8EjKeYENrsB15HfydlPa6CzPdH
EhmMhs897WxwEDOQ/V2hKBflfOBC9VoUF9JoBE8BSH4JhT5TgUZin8
fWAHxOHmX+FoWB8OiHA/aEmTvt8MJ1B+HocNoj6dg2C9IU9IwqxoEC
eIlMDT3FSkzexZZN7721xBzOjfYA5hinFOI+ICB9DoxxO2hpBiwez2
izM5zsjGVs29SWxtITvIj945nHN6bzoBAgSovvBo9Oe4V0NNrho1+v
GPTDjcBHa9d5G0s4cCwf8SVDUVzWC9gt20CzoGbcfKxHHlQGwTa5jR
qRMmtvYB0GGl8CnCOOgWtb7KSlU+27ZJ8HMBp0v15vVGobtWp9jeXx
la4plMwPlpmUFcFiMpp8TFrqD/ecdfiTSHhyCEIFM2KgcOOAiXwt8S
Cv8i3e3IOdqG+MsiZ+74KktnV2OcvgM488WwY3Xnqh1G8M4gUbca82
Lp/5plHEz1oE6kEm8+zG0l6ClAk+s8s3QmLa0JEWogXjADLgJauws0
WWjy1IbQ0YrYDZ6ngWvsv5sX08jKixWp3VbQhENX5xmD+NZKT1qej6
8Qk+P4eyeyPijZQGd8sKJeZitDtjMNdYm4rKsaVTl7L/rRnyfCYLnh
F5N1WpJFUJ7TWydGTfmDMR7lbhP9b5FZSIJ7aZSeXCeWgLTKyiKb6o
hAserSYLICJ9GjxlF8f455yjYSyN9zOT4xXVi6FdZUy9cv3/kDP9pX
+glvXvrg+usTHdB4ePkx/O7Zkap98PV9wUXxyC16iwc8RMYf9Mf4x/
ZvnePwObOu6o4CWFxbnPLXfMp/PHYLXEzP6YxuOk8aJNgNgX1SwyI6
FhfTUJIJKRffzdJJdHycfrJIrQ9NeVTAIa8b98M+nGyA9+Fg57t/rT
OrB3nTArY9G565ljS+aLXwlbClPn1FWASLBnimJNGpn+k/R9D4sQWW
Scg8S488BxvaZWapaspkElgJY+9t9GNZyl+11ORx3NDR35rJKVkzyS
WE2dWZm38cQKi+zjxB773lfsECZzrk/Aau6aThbg2ZvzHEYGOFsOuF
r0qm5VPljyncr9lrwb6/shPNrfgSTvpaqKfx42iT4Hds19Y/FsqTJG
NIZJyRj7Hhy6fSnnNvocHCfqoFFpHsIvbIaiz8eRynS5dCt5tFK/LX
SLV9Wa5A5jJ0VuPBOVijtzOK4UuBR5I1L3OwbsTkrgMfcnZTIkLMKe
ruZvVwx18eE95FMHQtQlTgaj+x2q4TmLAWoctO1XZo8zgUH2ipmyIx
FGXeeNqeXqdrFA2Ol4v3KnpxLfnB6MCnv0641WBk/CkyO+xBBQG4+V
U77p+CeTp4mzTabqc30a0AqevCdKFPijA9ABUBsQ1s9vCIPYD4dqyx
mAPO8ZHKqOgdV04rv5yvExbLSXxKk4ODwh06l8NWVdp8VsZlhWwz8G
                                           7
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D1JJStuNzmmjAxZ7ofG2jiyXLqL1wcxvMpOGXEUVtoC4Cc3dsaqvj6
H+EdKPU8JXlUQwxaZ5Q1swUh04t3RaMqCyqJWcLBMZ75xJeooHAVOB
Lp6gxbpPC5zJUThLhsfEREXOLYEmer51TJgDD76lEv9g2CNtrWEJ2y
Aw8Y1qrfZPmPPBLqOTLBZ1QKQC3EbnkHWHcUUs+LWifiiv/VDLByrj
pIPHuKABdJCioNyQvE52CEYC6bgBU2UEDYPP2dBVFKjotU/Udhga6G
QeA+WEf7WHJJATjwLxn4Ih0mYchw8yqVOY0iNLl6w08zEO4//SF4lF
wA4l3scjDMiIx9PUYA3pC8s+eVy1Qwj08rmHhtapx+e+UrkIueN0y0
sa4JGLQTbO3jBO5aLDLQkNxcQz6VWMafq8XmQXk/GI2QVhJNBsIo3L
KyBQ+yZ5dE85lQxIvqoWLak7ABOrvgJ2J5Yy4sccGmzbgQLFb1KNCd
iRsy70fLv6NV5oHlOl4xWVFYs2njY5Ypq4PIx54MMnVE+K0z6UwwjJ
hdHCsiFq4IeWesCqneCHahFDFbpqD7icj8Gur7SX+bwD/G1NzrliQI
MEtmNqh5sMreqPV1bZZ9clJEAfTMH0Zj1BDZHliGS0t9kbRCJnZGCo
mH5oIrXwVmACywSsKEJujplKKsMWpV1GX/6kp/k2OqL4PA+iFokWc0
mT30POpwgRg5sw1F+SoO8ATKp/qhDIRqi1xgImivle+oTz+sBEgZlM
q+OEmmhaAN4pNDzwW2/wNToSQpJU4Yk71iqNGJP00LtBJb6WMw+mSH
aF2zHnlcOweWmAz54q4iZYLy6UNUdB8UeUw8iwJFKl77HzV3ooD0IS
N3FfIoMA1y9WY+9rH5CwbOy8VRwBstLKCsUmD2BgGMCv1/hUidiZV+
RzYq898uT+wcnu1g6e1fgS/rt/vKOOdl98fnKMRzo2sXzlsHmCn+Jq
Hh7CA006OuzgKLphqmPZ6qkeV02pFJlNkonGx7tTCcGr48OTAzmZQA
6xx9KqtdoKDHetXq+oncMmjGEbD+87Wamt1+t4kUwWthtct6NqKyuP
V2COzwM8wK3WaKwvwz+b5AZg4YmfNTe6+MoPAD2NHCcVxIzVpGUCon
A1Hu/FmNK6CSnZEUWdpx7JP5NOcOYFYPfw2aYmKEOJBChcA1A4sPfi
PKJoitpENjNCIvI9ej0778JXTRD2WPnH1S2f04km0SGJfFevtBzcN/
lEwKcTR8cOAp2Eb1kIUh84NTFbBvo0Ck/esARj/QmJpKcp3Tl4Shem
OSIwuMTjBJ1Qzj084+MNAHCIemPmWSNHYeDqQzbigUSslNHfb9iIqT
wdI7SCXdb8uPh1oGfE59aYcAioX2+LxSOrFXUa+G+wZ/nql1kdQVac
nWJlKUZwc6YsSf7Ez3nHP0Xs4oReDIhaHqWY/4LsTp0Uc+n5HUlJiH
NSwoickEK/sq5P005G8k7JZ5083GSs28uuz5hGedERZjfZgjcnzH9s
Y3CKLThlSnzYgD4+epoWia/iWH0S35aN5HfcI+pj9rdTld5fBoxEuK
NujAAwndwkAO4YOax8TAlESNje2jGm7ViHPqXhtKes5G21CZDCpuVC
+xQ0IRkN708LH3srvLPIwGz7PdLcFGbq+dbUQ8kS1xKPkD65IxliRc
gIQU+M9n+3FQLlheDCTPDcRj5bHVSyQ2UxIZYoxWKzIT72G6NaZNDD
gMAAbwP9Pk7mnU7WR8abNttiGTodT43WYVg0mmHP++XQTRy/hgaaWT
J06rTdXw45mRcIFD/wgPHjqlqtzVZoRgGWEUmR1JF2Qps5WW/css+a
3uBEIXxkABMeto5WrURxgqgVE4q/9zZ/J73Nd6xPV+/E3R0dhdS89/
7ee39/H7y/oF1uHST9dPltq437GtNEYtvYzLaxanc8PBpVxXd96FJ9
7R4MfLfBwL0uvtfF97r4W9fFT9WJnet+53J5nTKXm0DjV04wLlryHc
tixny9AQ1nciIzfnpM7b5WiycuUrGDCZGH2HaXM/d+jNFk/r4qSEv5
SssR9b6kVldiec6vP1ma82rjFmnOq6vkMIi1J/hB2jl1QpN8OXKu3P
jofPwwGgedEKcmbsTOLy5DY62ASY6DyR/2MRkGY3wNUdQkqX5v9DWM
wTfjCvee3EOOe8jxnYMcdyzvN+4xzz3m+fT+h7WqejGmVIPzvTFYGb
B6TGRCT/i2gtEd31rKAsqHcZ3cYcoCneJOCfEVDFZxjIqiMuOPtxsb
9bhNTH9clMkugtGfP5s58IQPj6wXhU9IUz61lSNiUhsg2HvAqfeUzs
ThMjk36pPFxsaU3EQLB0M0ECBWgzTD0X9ODG73QZhc8NHrio9bgH0n
4aBhrYeJen0Btp4+k65vwC2ltf3C9+TwqwmHnfc7bvuclAFA1iEeBU
N/WCVxdqkbVa0gNOF0vlhJHOfAJQuLkKKjoriocsTr6ULwmQno0aTS
o5F43Iy1SJPLpjw6twHATOjjx0LZ53jHyntzdJ5cImOKUojEZgDQsD
qJsyxQ4OvDGEytftygoI958VeCQJ6vJyOuMWo1H38LwOwJ6NM+Fy7u
k4uUeHrNSXJOS2fSxr7WRu5cIl1UcB39PXWwPnRAWD5aqA8qJkPx6I
Bbig6P1UkxnI039mwo3HkSLVJnZbJZTZQdALEp6h92jEWLnwWc0GL8
pIhYpgWZR/qgD116YB2UNU0xmbJCNXJe3bgTsqRgqIUfkA4H151Ype
tYv/NlNXHuc4VSM1ee1DeWt14v1+qba43lvebx8skXz9TigKv25ESt
l7IznHcY7V9ffwbU5BNgqqhUrrFtb9Ic7IK26IPAciDcmM7ss6rHoQ
Q60IAOPMGMcURcEbL90WN9AlviKCkzmis/eEOKX6gpGV4nlHUDXVnH
YwDTYhawsj5SMUJcScaOKuQ4m5ThL2VeTzrjODSzxlyEtiE3zK1/mq
h54/H1XYc1Krkw2roF/sj8gM9hIxxKB5bTt+LwYx5IvMNedA4WEIN8
zdIJAnQpUKaMlSecKGPWHGCxiz5dOGIUKkPEw+NO3TPetwSZa+QxkP
RN8+YgVoY3/pjHafzmo3gcPabYPoUOKSpCthtVdezhSyPLGz+FzNNf
skS9iXVWwRA1KZ4Yr0FfRUin50efWzJk7fRmSny8UTHeDnIwpc+83a
SFzL56JMOp1EPvwljwQXAAvWWJz9HeLRqFjd2sqj2gPcTmcY9fi+Vb
Rx8rmtBhF+acLD63mbdFHwRlHddE2V1c7iEHVSSUHux5u2MCpkTe3p
izpolN7hiXPI7y3mJcug3ruI1h2iO/9aZCK/Ea9mv50HzKFacj3yWg
                                           8
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enn7ezQesUIHpDsWatNnVt344e1P6QO+pnoIECeKNHIPtfAD3omtaf
uopf1BVBJ45uGZKR65nvFLufp4pgC/X0wwxtB6BbYbrKgOJsBZkkbO
Q48dbs78ngQE4ySTndU3OQEYZ0U4OnbwNxirb5IzJNTK5x8Me296/l
XPiF8itVDq+VEUG+sIm6AXv7Os+Dg6G/Y0dPUhN47YQTErKGEDKfMZ
drTtbHRrPuVoHz6FdVlDOs0hOnSTJGtAZ5+SjDTniE7+yP3oYdB3m4
4Yffw5mmucFSbmJVYibylgl5tzAKfYDzogwTri1NXGCj0mhgUauFbq
Itg26IGycj7wO9IMKyvm/NxpNq0bWbTGnI1sWWPHuhOsWDFhJ9ivkf
l6g2Ke3WiN1XhZZ2+8XzXGeJ5kzykekbamT/kkip7ABmdx6+x9vQ9y
Nprz++yMGOtyAIh/hcZxyFvvE/LGz1XjrtjDIXXkJr/CQQVH15H+Hf
koHGAGVASIOnmDAGAM8dt8Hlc92l+C5q/cynvicr9beNGo2QfIEe1Y
PmLzwfgEAXeQsZFcqQI2CqxJ9cKpE2BeFofGBrcKEk7z7HoTPEvTA4
OjJ5p+nMhgOD40+J0qfrpdaFCWFORXneVXf3ja4a+0sVym/QcN47Qv
USu1Nb8g58ScMknW4VBH0nUO/TTiR0nu+VV1VFVb3iVcr6rHjWqtAS
rShhI6KUAbfqIU5avuGreITGQhhWQRXhgFeeGi78x9S6azK6dVcshE
V7qyNm27Z64xKThaYGZhHUk8pU/DQp453cYczJn4SBLABL+PfnhAFg
MS/h6LTOwKvw7ojEKz0e4qf8+0doV/AbOE98FYbGA3Xk/eD051AeJa
me3rAZ8wIXdt9XcxIZc/45M4AHwcq9KKHB3jra9/s9ZYr9bWajod5d
tJ5x2TQESJKRNxVGUCkDKHStksNWkUNIjkwap0YiAV5qMKgNadc/6N
zv/HUs1zfQaH+UIt/m5Iioel7XDX+viwfWIcacA7xgt1oshLV/sBBn
REGfof0csSO5W/W7nHohZISaQmst33MTIDWzdmBrY/RWbgF6+Ofqa2
d/aa+9tq62BvR+0ffPkRpBF99Y9tc07kw09rh65298VElf4aH8Xo8B
hpCtoDQbqkLegLu3SUN1yHmVTpo8PtJ6o5PMdp4lEX+DHZKjrNokaj
M90x8+Zl8+Tzo4ND9WP1ovliB8Z3qJ797Il6AfI9UMdV9dIBaoj/tX
eg/mi1Vq9tKJg/aPkvq0wfId9Z26itqsbK6hp9Pb6tngFIcC+BKCqw
KPhhwkajVlM/BU6A/dkiaLCHZzcOA0+tr9Zrm8uN9fomCCi/5z5Rm/
X1agMkcQNDMM+dt7ErdXXegRH9BIgW1rKP1bJVwGnqlKIt4cj1pqE8
glbRVt6tBPp97l3tvKVzJFXz93kV7nu/7/2+9/ve73u/7/2+9/ve73
v/aPgylcmkcnOpUi6Vh59yar6UKhdSxfnUA/g9ncpm0qm5VDabmsum
8nOpQjaVg59iqpxPzcHz8G8G70ILBfgTXuQrxVRpLlWEf+H3uXTqM/
hJFaCjXLqQTqXSqVwhXeZf4Bn4gRYK9Av0C79D1/B6Np3nZ2BI0A60
zANIpzJwBZ7Mp4oPUg95AHCF/6XrczASvs7jKaVT34efFHSazaXm+A
F+Hn4+S32f50XDKPK/tA5lnhf8QLPSOy3OA2yWBpbVs8ABwJPcDjwm
YxhZlnIxXaKpwfJCIyluBy79Afzg79BOAV7h0cLKQAvYchpGkuJlxw
fSc/TnHA2ykEnDZFOwZGW5noaFTWXTOf6XLhbHXSxk03MjF+egqR+k
5mhH8vO4g/hLDsmgyKs9n1rg2cG8cuk5PaNU9gFd5x9eEFmlUmrebG
uWr8MVfRe7gPUpwJUiEWTBkFCetixP6y90Bb0gdSFdZYFg4GH4KVNr
8ABvkAxDeofnaYs1MZt/yxN3CvsqTWEKGn/OUBH8qWDkGepdKFbIku
ltQlNwd0GGUSCm4JnyanCDpXQZdxlpA2k7a/61mAInOEe0x73TxIXO
53jBS9bqwVtwF9aTn+eV5GaZMaH1BfjBMeCG8sOGTeDdBR4n/JlGeY
INjvD1Q2LqEl1/AI3wK2Xcaxj2AowKeJkZgTmLf+dGeJxyF0idSYiX
kSUSbT1czzIZMHmUqS+hQ6ZbJpI5WhYaVQF6gd5h+4R0NfGkgTdzLC
7kYdqafFqLnfl56oi7o3mVuSkzsHlqLfcw9VkeKWo+IQ+LqVSRVxje
NWJhnugH+uKxFWioIp3gInWRYx5cSH22gKz6kAYwhyIR24chPaRleQ
APwJML9AD8K3PMkQyXbWJa4h/ui9c/Y1iV58vXmU24R9nKPI62zA/D
L7zm/CS2mU49oJ2yt5LYocS/8wYxqXNfccKbE5LmZ4gU55nL+BUhBu
4XFmde8xQ+KRI+Q79g+yQHgGjhX1nzjFFneS3TMiClM6kU/DuXSuED
KGNTZZ7+yDOFVKpAciyS7fbzPNrYFRxDOT0/pZ1yKoVE+8HtzD6ekl
bQGa3fmVDTJW6T1VDssVh3xRmW6AOeMUMasx2pPDAaU7jm6/QCNkiq
dkrLiWcibQiUFmtfCwrDnvOT+BoEBAtq4R3gjrJRdmUtFhLCyqhC0v
gicJiYjeRBurXbEeJnccFtlgwbssZkMcXigm8ZzTLPz5t9L7JsZ8YU
YCMsnEfxssAsPEcQxYytaPOXcL20MFXx5ajNkogLxpYycVu1saqiiT
ywlFreBnui8ljnstotoqAoxfYIpegCCSIYc9kAlZzBXUXzi0FW1FSa
RYTGWnOCx1AQmT9JeswVWVNHeAzkSWEEZSGoG71oQS+Ayql/ROtGQk
yj3Ju0CdEzUCDTsxb1EVrQQjud48fKyAJ5pnyDS7WGzaHQBiRWgtnR
dAoj/xaRodIlZquc2QJDxiWBUgZZlRknsIydI93HXTDSziMCRLU1hW
DgItMMDoz2NxfDxvnEXsgOMlTjxhn2k3IvaRWWnieWj3QW4ijzLvMX
Q3EYTJF/NCDJkywCm4XXLcOcmDNgEviO+YJZ2+aRIlkZ2uSJLsJ48t
Eg00VulhazIIqpQJtIwyvwxDPUhWWplQRI8OKwWOClFuVeNGpXhsSP
MfeJthUmZcyQ1Ys5L9yn8Um6wOKUexTxoq0YmpcQCckfPQzpiHGUoE
oZG7fPPyzejeD6SvqaT30m0JF/YXrDdoyRwkqERy4j5F9E7LAMFBFn
plYUM6dItJdJ/TiT+sO51B+aPcryikk71Dhjqjmi5IwgHG7TviI7Qg
u7wCOf5XkzGC2lrUYA5CwKQQrvMD3oLdBSIps3zGV2ilt4KGiQjN+F
                                           9
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2WbxKJdayeOo2tT1z2mX1VzqH+exqX9IrPH9XOqXsr8FY7PIrtGfKF
JYXeYNAqRN/4Ns6gf51B/kCL9lNG1He2dzMTdFbc7f+ABTBaHZ5GM8
WWtny5oaCdmapuwWNJvkUUSjmJpLbZUMOuWJ0xb/IKudBj+gP3+cx3
/Zn8BK5welhKhHxZIhZVQkGDZ/dwI/L6KAfy8bUGEDEmbzKbemUxST
q7X7eRbjNp2bpooiSbKWxURLrW3JfCSWH/C+c5s2bditSSNZbXMhB8
W7K4jrwPi4skQDun3WOBnL4hb/A4smgihlJpvRpbANHF5DEWuTnmT9
mJAJrCNYOkULy5RghL/MMS4EZCJjhlc0FlyeWDVjDFjbeGSth79ok4
FFqDYDE8uSNQ60GZcFHT7pBWmW7D7tgQGkxDYgyy6+LhenNMtkWTAe
GJ5CPrqVHID8bqRuPmswOcMGWUB7N8WOFuh7qwXkpvLIs3Niw7JdTz
K/WDLGxcgzeVvn8sO2uBPvro0T5OGcJRsZp9kPZI3Rwe7ZsV0L+ZWM
oi8bjGQ/I0pBYEZmBpXNcpXaKSTatJ+UMYi7jGfHFhaLTbFrSBSXZE
+ZWmSVSLbzMAokYQo2Q9kaxKIuPQWZHbtQWLgJWstFnk8WmNoxWIqc
lhEYE1f59PWxF8cGXSIKxGlmX0l40kQQaSI0gxQRXbSMUKElIS0BLS
Nwcbozdm6KM5YReyFdZDRuBF2OYHyWYXzCYctmbyEGsIs2wCbUVzDv
/lPB2OPcm9oivq2bN2sALS8myz3jrY28sloiGZwp2y2iUgx/XlibHw
XYy/bJ2pIzhFxb6aJ2gxCu4HUrpkus+r+NTseteTa+5gXukQlJwkzj
AKfGFQlBZHc6IpNLaTbQycxJEwhJGwcj/M69iNghv+tnMk6bjEHGMt
tqkyRdIIykd0oiWRkTfmJC5YdL6TIve9rygloO9nICkzDFyt0MOZ+F
SCRkwLYbKxTWR+JNYs+nOMNFlI3uGo9E5Lb4H2yRQu6dmHOVqaJozG
rbk89TYL4QEQF/sq9DFB8PMm98IDAG4SzxACcGAC1/lvqeYaUi05ho
LtvW5gZllWR5ZYLww00JOdlrIvY16z6Z1OiyiJy0X8loH0iJ0U7GmO
d5y1WYIABZIiMMx/TCW8lTji9OSUS30IaQqyGngrxVMDGIBAyIzO0Y
beeEMFgmiJM/8pVBjwax2JadIYBSAmlnjO+xYIgngUvFiJiFefktkU
s896zxH8rseGoct5IVEGIomGCx4BwKlGuMJ4FI3mi+yz5P/vMztHN1
POiz9PdN44noRoHGE5NsRiDnSAzOE6c/ZNag0S4I246E5B4IBKLJYh
xE4rbi4DVRszEhM6HD7Lh4mYlATYmXlSRYxr2b0EwMfIpgF4eeyGd2
7vFSJASUyBMxIXmjRRKSUOU4SAShSyY0nDXWjbB2lnwgFGTRZg73JS
qeZREJ7ZKtBLOGs3hl2OcsjEZCCVVb2dg1OSQS6AK24Ht27LJEICGx
CzbW+uBdKGd0sPJBxgQridJm4iB7qFny4Bki1yhUsOhC6qHxNApiz0
8PdoyNsWajkEdZVJsJfOSytwt8PMiOC3xwDJf5RcSRcIcZdj5BPxKn
JlEJsq4oMMBQVD5nQqgUXCvSaB/E3Avp1DzRlRCVWKPsIJWubRGUoY
2gyd4uHPww9b1vIRC8ICaGYZn3CATrVc1MDgSLujeKRgK+mgyyBkXk
YwHfyO6wxvxgbBR4Ri7IfYRgcf73JFg8NjI7N2u8eOwqfcAzHz9enJ
8cL84lVkxUW8b4pjTkM6DIljDz6Qe8fUy0suYyPEunP4iLqflR2uZX
yhrta0koRgpTNVMvGLA5Q/O2vWbLLvEHwr/fS/2DrBkYKYJ5DsyxEs
yTKGCHFdsgfIXQF4ggFg6FonF66GZ1FF47WrWONnpZYHDWsllEUmUN
GhctIL5okflsaRoh/3DUZskay13kFT+woEFXeZZmZxIm7Ic3nYodwQ
FrWXlmGdlx+UWsqgjjpXOa6w3klvGzgNWBSJ0GWcpo15buRYYRAaH0
Ax6hccJom0gjZKOA4q6JyFUulpfskb1BcyYtTWIHRr/fvLxGp0Tu1m
jROAhCD7CUzhqDMWN8y8lXiFyz1u7zmIn2SqMMJWaUMJHwJlxZMFpY
5ivWpUQqs/EkJXvueZP2YPvZJK9M3spYPrdMFMQsSMsPTQDUfpJF+n
wKtN2C2dmSLXkEVMuu2TaObcvbSy0szyss47cis0VufLJDTFv38lYC
mVvesCgkLYyQJTOTN3dky7K33bIZkcDYnY2D5PfZWZH5I5tb5Dka+R
xtHMtkA7/nJCXS2rj5dNwBS4g0nzYR+WwcS+dN+k3WRMpIAH7GQkDM
eWG0rEkDtgMZtvE7Z1I3RXrjk+JftSzcTCKnyNy6Q/0o+zVJJ4qOGF
V8AoYT2k26yJl3DYrOceazPDNPfMFUbUNoo4nmJHd6TodHc9q5bXj8
djKfXEx2BgI/KbZwxuRUsEAW3++8hRBsqc7LK+1Is3Zswl4icf0JR9
xKmcrClkYsDsYSpoucOGAN+HnAwxY+tUdV0MlXuQcWnSfUDfeS1/4c
nbcvgEGmzMPmQAZI6YQyyus4SIQH8pRuJwRpi2hi3pIslxhfWROelv
UUzyE3aPxFjAr0poBmFz9SHGPMW64PHVjnAWeMR458fTr8zV08JDNT
xFRCBzGlGSKctzNYZADMqvMmaL6QfriQgoV9aFOj7I5IrYLVAvKsJa
bsBBgxObUpqpM3NHfYkTVxWSccVoITGJzIagj7JJZXHIOiiQpmEzMm
AijTEWph4hExOIq45qxUmayOdESxRf26hXmkfXlFhJItY7NxMGbRTN
mmsWzkKomWVChtdk0qOqJoaj3I+VywqV12BCwvAbpCyUwMtuyKq8Wc
iPG0WVUhJOHijw6HhAE/DSiylK8GRUKuhukWIhTB5QZ3BCTYtSVANF
JD3wJ4yBrDjfeFZc7D1PfK2pun3eaiRpmG46ZTft5S97axkxDgHISS
AjT274mAYqfoLHxh3AvaQyjylnZH10x9RCekXWwiUEoaFBPJwKSIL7
LGScuvc0RYII14ZbNxtzBH6j/QJ2wkVSH7EVzBD+yoihWN1ZRTMlE/
kd48VKEHa75FiwBGdt/o91FRkzWGagJHMaS0nQBssMh8bUuZRXcijU
dicEY5zjNuFN4smfga/8ku4oTrO+5E1epDPBW2pstbRTplg2ZhwTng
mB3neFnAMiVd95c10gAACYm1ojUwKarKJ4ShDIyBN/u3iaJ4r+dFC5
RR28/AgPHpCHgwnqIFloo2Nwn90/I+sNeK0Y61a2KSlMkC/axgcsO4
                                           10
         Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 14 of 104 012
TW6Hf3AkutxGUokK7KE1i8ZSEUWf5DOzYBetF3eVl3JWHjiPn40R3j
XhXL7ISNUIPQ2HJCJgWLgkL2ZNintG52Po6LNMp2woULShGMhcpUXb
p3FIkRGgRviUIGGZUbapMspHFuVrbUK3inkTxZMdMfI8T5GLomhbxo
d5k9LPckn+TEA7e5t4g3I6B68gFELznWOtKvJKtmnOpD7mTSMFK8FM
YHxC1OdMXJ5jl6I7bPksAFX2hRecG5yNI/SWFS3garD6Q9qOPHt6C0
ZCCjktGK9dNp60LzBpzgLqwEXfgx9itJyeJqeyyG7qJB/eAonFZHSu
eF6KaCwHILRg0jjTOYprzDNflI3uy5kKDl05gguRl/JqG9Vk4r5EzS
8Gb2Qsy2KeNKwYg3Y4j9Z/TuSM3lyTvJ2w+IxqLpLLvcxGh7EUSnYj
RRO8yxikZysIseDsTm2Wt9Mb5C0mRe6RI79FA3clXM7G70P4IT9Gzi
TplWLlnFEUWzJy5wxgsJ+UIL7lUiuJHGbTQIDKXNwUYptRoKAgc6Z2
1o824MlZ2kT64iGJzlpAh+rsOqsQ11mRN0Mwj3AEE1Ikx8xoeRYCh6
ZsqK18bQNtdE9nVHw3bD2F4G2FaEPlrOWEyUh0bJSeDbMw+JxtpoVE
4+9DtyYDJGdQa8JAExdQ1tgUtgn/0elWNCOHG4zVP1+2JC0zqSwydy
pmO9OPIDEhqgQl2zrd5AwUsxaWy9ghFUuDjIZRRGkWTPVKxiDPrGUX
Z0eMaJZaGVMNR8JwXqzU3zkIOiM33RapskF9jyQ/PpI0GON3N+wl6y
ymqC0ZDEPNhOV+d/nunqG+KwxlYlizk1zGOCo/omuxZEp0JUZJfp6H
2mtkuQHjPtKP6WO06T+v61AKxsJaECOUu6AytAc2v08oBIhOXBEWk1
7iyvRBcSRD9Z67b+TuGTX4vRCYRauKm9r41WPUyFQ0m32at59/T/uU
ElAzphAyE88XEpycsBkfxCutsuOwtIykHOWx59IWm/Ac09H5DzrTY0
a7QFhPEtRFvomDC95ih7mQHCX9PpTeBVGU3+9wrXGzzo4YEZmkYz8a
ZM7E1+ZmjHeYMhBDM4WEfMvooEw0ThazEkLikLfRHTp8nzFeX/E1la
JS06j4KGulQ9gcJ7EMaUoaFCLJm8xGCTfYvi/btLfXU6hCHMhygg2P
X4BfWhf44AEm8Af7tTLoIsvK4UKckF/EPJaHJSlRMU6woinKE6rLWj
ECeusBV+vkTUaELety6bw+UsaqjRLvXy4qs80nFm00TCbrRo/p7S5Z
NTXGMtWWPotNYVg7BiQ0YMxnNCcfUHpA3kToeBnl96zlYuUF54FJs4
mItuxXzjr2RMSyLfcEOeRMzXJaH27Dw4tscN6LXDzFMTvGQi+NcDof
QamnmbcSWoSeeTveR5SZVE8BRQUTC86apJeCRbfscRX2lF54BWbk9z
jlM5NSsBJdiHlbOrHLJWMVoHGY1dZZJZOrIJhQ2DBjSuTyRoGK9SRk
nDWVZVnLO1q2UC5jNpEkQmZCbEXj8JcHPmQjhB0yphpdMtMkbD1nJX
gkKNCqMC1JbuT7+YjsGcniWMo0Lwch2r6dhJTOjxy4IfFHg41LwiCG
JYtUqlksGhY2sy6YZmNJIxkD7GdUW3OSjzTOdZzYr2w8eU8WxNabo1
o4ayLmn0wXJ3CCeCZlLwzKKhg20adPCP0UrONcZMtmzFjgtJycPhA1
K6tkM6Yl6qMjC+JGiu0wL8lel0yVov3njbYJJ4xlP9SBP942sX1BBo
1r7rDljwi6TNzDb+g2R+yTTxuFnh7JBMjGDnedExbImBRKifElSJeH
IdkjOesQLaENTjHNWCxs9RXx17fJkhF2ylmLjC2PSwC+a39dlBo6un
ckKApcQpV7n8SteRLXC2yqz8ePOnyIBen2CWxlriLn8lImY5uYjfqY
SR2LbWVyLOfuRHDR7AqfwFOUs7Lxp256dC4Qi6wH1plswoN5E6/Hs1
9ih3TNTT1hMi+/vO8Jk6WPfcJklOA6WwJn4aM8Y9hk7pP1eP/M/TPf
hWcy/x9qRgheBTYBAAECkAQ8P3htbCB2ZXJzaW9uPSIxLjAiIGVuY2
9kaW5nPSJ1dGYtMTYiPz4NCjxUYXNrU2V0Pg0KICA8VmVyc2lvbj4x
NS4wLjAuMDwvVmVyc2lvbj4NCiAgPFRhc2tzPg0KICAgIDxUYXNrIF
N0YXJ0SW5kZXg9Ijk0Ij4NCiAgICAgIDxUYXNrU3RyaW5nPlBsZWFz
ZSBzZWUgdGhlIGF0dGFjaGVkLCB3aGljaCB3ZXJlIGZpbGVkIGluIG
FuZCBpc3N1ZWQgZnJvbSBDaXJjdWl0IENvdXJ0IG9mIEJ1Y2hhbmFu
IENvdW50eSwgTWlzc291cmkgb24gQXVndXN0IDI5LCAyMDE4OjwvVG
Fza1N0cmluZz4NCiAgICAgIDxBc3NpZ25lZXM+DQogICAgICAgIDxF
bWFpbFVzZXIgSWQ9Im0ucmlkYWxsQGFib3Jpc2FoLmNvbSI+bS5yaW
RhbGxAYWJvcmlzYWguY29tPC9FbWFpbFVzZXI+DQogICAgICAgIDxF
bWFpbFVzZXIgSWQ9Im0ucmlkYWxsQG5ld21hcmtldHBoYXJtYS5jb2
0iPm0ucmlkYWxsQG5ld21hcmtldHBoYXJtYS5jb208L0VtYWlsVXNl
cj4NCiAgICAgIDwvQXNzaWduZWVzPg0KICAgIDwvVGFzaz4NCiAgPC
9UYXNrcz4NCjwvVGFza1NldD4BBfsBPD94bWwgdmVyc2lvbj0iMS4w
IiBlbmNvZGluZz0idXRmLTE2Ij8+DQo8QWRkcmVzc1NldD4NCiAgPF
ZlcnNpb24+MTUuMC4wLjA8L1ZlcnNpb24+DQogIDxBZGRyZXNzZXM+
DQogICAgPEFkZHJlc3MgU3RhcnRJbmRleD0iODcwIiBQb3NpdGlvbj
0iU2lnbmF0dXJlIj4yMzQ1IEdyYW5kIEJsdmQuLCBTdWl0ZSAyMjAw
DQpLYW5zYXMgQ2l0eSwNCk1PDQo2NDEwOC0yNjE4PC9BZGRyZXNzPg
0KICA8L0FkZHJlc3Nlcz4NCjwvQWRkcmVzc1NldD4BCf8EPD94bWwg
dmVyc2lvbj0iMS4wIiBlbmNvZGluZz0idXRmLTE2Ij8+DQo8UGhvbm
VTZXQ+DQogIDxWZXJzaW9uPjE1LjAuMC4wPC9WZXJzaW9uPg0KICA8
UGhvbmVzPg0KICAgIDxQaG9uZSBTdGFydEluZGV4PSI5MzkiIFBvc2
l0aW9uPSJTaWduYXR1cmUiPg0KICAgICAgPFBob25lU3RyaW5nPjgx
                                           11
         Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 15 of 104 013
 NjQ2MDU1MTE8L1Bob25lU3RyaW5nPg0KICAgICAgPE9yaWdpbmFsUG
 hvbmVTdHJpbmc+ODE2LjQ2MC41NTExPC9PcmlnaW5hbFBob25lU3Ry
 aW5nPg0KICAgIDwvUGhvbmU+DQogICAgPFBob25lIFN0YXJ0SW5kZX
 g9Ijk2NCIgUG9zaXRpb249IlNpZ25hdHVyZSI+DQogICAgICA8UGhv
 bmVTdHJpbmc+Nzg1NjkxNjE1NTwvUGhvbmVTdHJpbmc+DQogICAgIC
 A8T3JpZ2luYWxQaG9uZVN0cmluZz43ODUuNjkxLjYxNTU8L09yaWdp
 bmFsUGhvbmVTdHJpbmc+DQogICAgPC9QaG9uZT4NCiAgICA8UGhvbm
 UgU3RhcnRJbmRleD0iOTg1IiBQb3NpdGlvbj0iU2lnbmF0dXJlIj4N
 CiAgICAgIDxQaG9uZVN0cmluZz44MTYyOTIyMDAxPC9QaG9uZVN0cm
 luZz4NCiAgICAgIDxPcmlnaW5hbFBob25lU3RyaW5nPjgxNi4yOTIu
 MjAwMTwvT3JpZ2luYWxQaG9uZVN0cmluZz4NCiAgICA8L1Bob25lPg
 0KICA8L1Bob25lcz4NCjwvUGhvbmVTZXQ+AQrxATw/eG1sIHZlcnNp
 b249IjEuMCIgZW5jb2Rpbmc9InV0Zi0xNiI/Pg0KPEVtYWlsU2V0Pg
 0KICA8VmVyc2lvbj4xNS4wLjAuMDwvVmVyc2lvbj4NCiA=
X-MS-Exchange-Forest-IndexAgent-1: IDxFbWFpbHM+DQogICAgPEVtYWlsIFN0YXJ0SW5kZXg9Ijk5OSIgUG
 9zaXRpb249IlNpZ25hdHVyZSI+DQogICAgICA8RW1haWxTdHJpbmc+
 Z2xhbmdAbGF0aHJvcGdhZ2UuY29tPC9FbWFpbFN0cmluZz4NCiAgIC
 A8L0VtYWlsPg0KICA8L0VtYWlscz4NCjwvRW1haWxTZXQ+AQvnATw/
 eG1sIHZlcnNpb249IjEuMCIgZW5jb2Rpbmc9InV0Zi0xNiI/Pg0KPF
 VybFNldD4NCiAgPFZlcnNpb24+MTUuMC4wLjA8L1ZlcnNpb24+DQog
 IDxVcmxzPg0KICAgIDxVcmwgU3RhcnRJbmRleD0iMTAyMiIgUG9zaX
 Rpb249IlNpZ25hdHVyZSIgVHlwZT0iVXJsIj4NCiAgICAgIDxVcmxT
 dHJpbmc+bGF0aHJvcGdhZ2UuY29tPC9VcmxTdHJpbmc+DQogICAgPC
 9Vcmw+DQogIDwvVXJscz4NCjwvVXJsU2V0PgEM+w08P3htbCB2ZXJz
 aW9uPSIxLjAiIGVuY29kaW5nPSJ1dGYtMTYiPz4NCjxDb250YWN0U2
 V0Pg0KICA8VmVyc2lvbj4xNS4wLjAuMDwvVmVyc2lvbj4NCiAgPENv
 bnRhY3RzPg0KICAgIDxDb250YWN0IFN0YXJ0SW5kZXg9IjgyOCIgUG
 9zaXRpb249IlNpZ25hdHVyZSI+DQogICAgICA8UGVyc29uIFN0YXJ0
 SW5kZXg9IjgyOCIgUG9zaXRpb249IlNpZ25hdHVyZSI+DQogICAgIC
 AgIDxQZXJzb25TdHJpbmc+R3JlZXIgUy48L1BlcnNvblN0cmluZz4N
 CiAgICAgIDwvUGVyc29uPg0KICAgICAgPEJ1c2luZXNzIFN0YXJ0SW
 5kZXg9Ijg1MiIgUG9zaXRpb249IlNpZ25hdHVyZSI+DQogICAgICAg
 IDxCdXNpbmVzc1N0cmluZz5MYXRocm9wIEdhZ2UgTExQPC9CdXNpbm
 Vzc1N0cmluZz4NCiAgICAgIDwvQnVzaW5lc3M+DQogICAgICA8UGhv
 bmVzPg0KICAgICAgICA8UGhvbmUgU3RhcnRJbmRleD0iOTM5IiBQb3
 NpdGlvbj0iU2lnbmF0dXJlIj4NCiAgICAgICAgICA8UGhvbmVTdHJp
 bmc+ODE2NDYwNTUxMTwvUGhvbmVTdHJpbmc+DQogICAgICAgICAgPE
 9yaWdpbmFsUGhvbmVTdHJpbmc+ODE2LjQ2MC41NTExPC9PcmlnaW5h
 bFBob25lU3RyaW5nPg0KICAgICAgICA8L1Bob25lPg0KICAgICAgIC
 A8UGhvbmUgU3RhcnRJbmRleD0iOTY0IiBQb3NpdGlvbj0iU2lnbmF0
 dXJlIj4NCiAgICAgICAgICA8UGhvbmVTdHJpbmc+Nzg1NjkxNjE1NT
 wvUGhvbmVTdHJpbmc+DQogICAgICAgICAgPE9yaWdpbmFsUGhvbmVT
 dHJpbmc+Nzg1LjY5MS42MTU1PC9PcmlnaW5hbFBob25lU3RyaW5nPg
 0KICAgICAgICA8L1Bob25lPg0KICAgICAgICA8UGhvbmUgU3RhcnRJ
 bmRleD0iOTg1IiBQb3NpdGlvbj0iU2lnbmF0dXJlIj4NCiAgICAgIC
 AgICA8UGhvbmVTdHJpbmc+ODE2MjkyMjAwMTwvUGhvbmVTdHJpbmc+
 DQogICAgICAgICAgPE9yaWdpbmFsUGhvbmVTdHJpbmc+ODE2LjI5Mi
 4yMDAxPC9PcmlnaW5hbFBob25lU3RyaW5nPg0KICAgICAgICA8L1Bo
 b25lPg0KICAgICAgPC9QaG9uZXM+DQogICAgICA8VXJscz4NCiAgIC
 AgICAgPFVybCBTdGFydEluZGV4PSIxMDIyIiBQb3NpdGlvbj0iU2ln
 bmF0dXJlIiBUeXBlPSJVcmwiPg0KICAgICAgICAgIDxVcmxTdHJpbm
 c+bGF0aHJvcGdhZ2UuY29tPC9VcmxTdHJpbmc+DQogICAgICAgIDwv
 VXJsPg0KICAgICAgPC9VcmxzPg0KICAgICAgPEVtYWlscz4NCiAgIC
 AgICAgPEVtYWlsIFN0YXJ0SW5kZXg9Ijk5OSIgUG9zaXRpb249IlNp
 Z25hdHVyZSI+DQogICAgICAgICAgPEVtYWlsU3RyaW5nPmdsYW5nQG
 xhdGhyb3BnYWdlLmNvbTwvRW1haWxTdHJpbmc+DQogICAgICAgIDwv
 RW1haWw+DQogICAgICA8L0VtYWlscz4NCiAgICAgIDxBZGRyZXNzZX
 M+DQogICAgICAgIDxBZGRyZXNzIFN0YXJ0SW5kZXg9Ijg3MCIgUG9z
 aXRpb249IlNpZ25hdHVyZSI+MjM0NSBHcmFuZCBCbHZkLiwgU3VpdG
 UgMjIwMA0KS2Fuc2FzIENpdHksDQpNTw0KNjQxMDgtMjYxODwvQWRk
 cmVzcz4NCiAgICAgIDwvQWRkcmVzc2VzPg0KICAgICAgPENvbnRhY3
 RTdHJpbmc+R3JlZXIgUy4gTGFuZw0KUGFydG5lcg0KTGF0aHJvcCBH
                                            12
          Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 16 of 104 014
 YWdlIExMUA0KMjM0NSBHcmFuZCBCbHZkLiwgU3VpdGUgMjIwMA0KS2
 Fuc2FzIENpdHksDQpNTw0KNjQxMDgtMjYxOA0KRGlyZWN0Og0KODE2
 LjQ2MC41NTExIHwNCk1vYmlsZToNCjc4NS42OTEuNjE1NSB8IEZheD
 oNCjgxNi4yOTIuMjAwMQ0KZ2xhbmdAbGF0aHJvcGdhZ2UuY29tDQps
 YXRocm9wZ2FnZS5jb208L0NvbnRhY3RTdHJpbmc+DQogICAgPC9Db2
 50YWN0Pg0KICA8L0NvbnRhY3RzPg0KPC9Db250YWN0U2V0PgEO1QFS
 ZXRyaWV2ZXJPcGVyYXRvciwxMCwxO1JldHJpZXZlck9wZXJhdG9yLD
 ExLDEyMjU7UG9zdERvY1BhcnNlck9wZXJhdG9yLDEwLDE4NDtQb3N0
 RG9jUGFyc2VyT3BlcmF0b3IsMTEsODtQb3N0V29yZEJyZWFrZXJEaW
 Fnbm9zdGljT3BlcmF0b3IsMTAsMTI7UG9zdFdvcmRCcmVha2VyRGlh
 Z25vc3RpY09wZXJhdG9yLDExLDA7VHJhbnNwb3J0V3JpdGVyUHJvZH VjZXIsMjAsMjM=
X-MS-Exchange-Forest-IndexAgent: 1 22399
X-MS-Exchange-Forest-EmailMessageHash:
F36DE825,05AC0AAA,777D1D42,134AB546,68B1D28F,E716D748
X-MS-Exchange-Forest-Language: en
X-MS-Exchange-Organization-IsPotentialIntraOrgMail: False
X-MS-Exchange-Organization-Antispam-PreContentFilter-PolicyLoadTime: MAOSUB:24;SLOSUB:0;
X-MS-Exchange-Organization-MessageFingerprint: EFC8605F.A033D712.B1FF57BB.64E9F18C.202CF
X-MS-Exchange-Organization-AttachmentDetailsHeaderStamp-Success: 1.0
X-MS-Exchange-Organization-AttachmentDetails:
0:Eud4PBXfla15qb783Pbzjgb9ejfytDZhLXrLdIqqmbM=:U:Png:aW1hZ2VmNTFlMzMuUE5H::#:False:::N::;
1:5iNUfnGcqY9yOsp23K/npOMkZf64N2G7M85W2WbTLHU=:U:Pdf:MjAxOC0wOC0yOV9FeCBQYXJ0ZSBNb3Rpb24g
Zm9yIFRlbXBvcmFyeSBSZXN0cmFpbmluZyBPcmRlci5wZGY=::#:True:::N::;2:vrrG3uAfHIx8ULzcqBDBHMGg
Ekc8X4sPhu6Mq6yJbk8=:U:Pdf:MjAxOC0wOC0yOV9TdW1tb25zIGZvciBQZXJzb25hbCBTZXJ2aWNlIE91dHNpZG
UgdGhlIFN0YXRlIG9mIE1pc3NvdXJpLnBkZg==::#:True:::N::;3:DCDB6X0rlK4sQbSYWzTURXX2jwueNZMZBs
FNutAZ5nQ=:U:Pdf|Text:MjAxOC0wOC0yOV9WZXJpZmllZCBQZXRpdGlvbiBmb3IgRGFtYWdlcywgU3BlY2lmaWM
gUGVyZm9ybWFuY2UgJiBJbmp1bmN0aXZlIFJlbGllZi5wZGY=::#:True:::N::;4:Yw12Dmb18+maNJZcSvhXiUR
EU9odNEqHN5lyNoNSesI=:U:Pdf:MjAxOC0wOS0wNCBUUk9fQ2VydGlmaWVkLnBkZg==::#:True:::N::
X-MS-Exchange-Organization-Antispam-PreContentFilter-ScanContext: CategorizerOnSubmitted;
X-MS-Exchange-Organization-AVScannedByV2: Symantec;Microsoft;Command
X-MS-Exchange-Organization-AVScanComplete: true
X-MS-Exchange-Organization-IsAnyAttachmentAtpSupported: true
X-MS-Exchange-Organization-Cross-Session-Cache: =?us-
ascii?Q?00CIP=3D67.231.157.70;EIPC0=3D2055,950,2005,2006,2007,2008,2?=
 =?us-ascii?Q?009,2010,2011,2012,2013,2014,951,2000,2050,2051,2052,952,902?=
 =?us-ascii?Q?,2054,2016,903,905,904,2015,2001,901,3000,3010,2003,907,2002?=
 =?us-ascii?Q?,967,2004,2058,2059,2060,2017,5011,5001,5051,5060,5050,5053,?=
 =?us-ascii?Q?5052,906,5010,5057,5059,5058,5056,5031,5030,5034,5036,5020,5?=
 =?us-ascii?Q?037,5038,5040,5029,5035,5023,5022,5021,5026,5027,5024,5025,5?=
 =?us-ascii?Q?028,5032,5033,5039,5055,5054,5002,5003,5005;MIPC0=3D950,952,?=
 =?us-ascii?Q?2003,5011,5051,5060;REP=3D01,1,84\;01,2,269\;01,3,2595\;01,4?=
 =?us-ascii?Q?,342\;01,5,180\;01,6,0\;01,7,10\;01,8,46\;01,9,9597779\;01,1?=
 =?us-ascii?Q?0,800963\;01,11,183\;01,12,46\;02,1,74\;02,2,278\;02,3,4221\?=
 =?us-ascii?Q?;02,4,661\;02,5,183\;02,6,0\;02,7,20;SL=3D1;EMSL=3D1;SCL=3D0?=
 =?us-ascii?Q?;BL=3D1;RL=3D1;PID=3D0;PL=3D0;EXPID=3D;EIPC1=3D2055,950,2005?=
 =?us-ascii?Q?,2006,2007,2008,2009,2010,2011,2012,2013,2014,951,2000,2050,?=
 =?us-ascii?Q?2051,2052,952,902,2054,2016,903,905,904,2015,2001,901,3000,3?=
 =?us-ascii?Q?010,2003,907,2002,967,2004,2058,2059,2060,2017,5011,5001,505?=
 =?us-ascii?Q?1,5060,5050,5053,5052,906,5010,5057,5059,5058,5056,5031,5030?=
 =?us-ascii?Q?,5034,5036,5020,5037,5038,5040,5029,5035,5023,5022,5021,5026?=
 =?us-ascii?Q?,5027,5024,5025,5028,5032,5033,5039,5055,5054,5002,5003,5005?=
 =?us-ascii?Q?;MIPC1=3D950,952,2003,951,902,2014,5011,5051,5060;BCL=3D1;SA?=
 =?us-ascii?Q?UTHOP=3D1;A=3D00;MX=3D00;P2A=3D00;P2MX=3D00;RMX=3D00;PTR=3D0?=
 =?us-ascii?Q?0mx0b-000e6701.pphosted.com;SPF=3D011glang@lathropgage.com;D?=
 =?us-ascii?Q?KIM=3D;DMARC=3D02glang@lathropgage.com\;;DkimStatus=3D7;Dkim?=
 =?us-ascii?Q?SS=3D0;DmarcStatus=3D2;DmarcAction=3D0;CAuthExp=3Dtrue;FPR?=
 =?us-ascii?Q?=3DEFC8605F.A033D712.B1FF57BB.64E9F18C.202CF;PReRC=3D1?=
X-MS-Exchange-Organization-Recipient-Limit-Verified: True
X-MS-Exchange-Organization-TotalRecipientCount: 1




                                            13
          Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 17 of 104 015
              IN THE 5TH JUDICIAL CIRCUIT, BUCHANAN COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 18BU-CV03640
 MELISSA M LAWYER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 VETBRIDGE PRODUCT DEVELOPMENT                               GREER SHIRREFFS LANG
 SUBSIDIARY I (NM-OMP), LLC                                  2345 GRAND BLVD
                                                             SUITE 2400
                                                       vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                       Court Address:
 NEWMARKET PHARMACEUTICALS, LLC                              BUCHANAN CO COURTHOUSE
 Nature of Suit:                                             411 JULES ST
 CC Specific Performance                                     SAINT JOSEPH, MO 64501
                                                             STATUS REVIEW HEARING DATE:11-27-18
                                                             @ 8:30AM, DIV 1                                       (Date File Stamp)
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:    NEWMARKET PHARMACEUTICALS, LLC
                               Alias:
  4 PITCAIRN AVENUE
  SUITE 4
  TRENTON, NJ 08628
     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                               ___________________________________
                                   Wednesday, August 29, 2018                  _______________________________________________
                                                                                        /s/K. DOBOSZ, Deputy Clerk
   BUCHANAN COUNTY                                  Date                                            Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                       ______________________________________________________
                   Printed Name of Sheriff or Server                                         Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                         __________________________________________________________
                                                                                             Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-53          1 of 2 (18BU-CV03640)        Rules 54.06, 54.07, 54.14, 54.20;
                   Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 18 of 104    016
                                                                                   506.500, 506.510 RSMo
                           See the following page for directions to officer making return on service of summons.




                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-53           2 of 2 (18BU-CV03640)           Rules 54.06, 54.07, 54.14, 54.20;
                  Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 19 of 104    017
                                                                                  506.500, 506.510 RSMo
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            IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              (DIVISION NO. )


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
Kevin Speltz, Manager                             )
1302 S. 59th Street                               )    Case No.
St. Joseph, MO 64507                              )
                                                  )
               Plaintiff,                         )
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
Mark Ridall, Manager                              )
4 Pitcairn Avenue, Suite 4                        )
Trenton, New Jersey 08628                         )
                                                  )
               Defendant.
                                                  )

                    VERIFIED PETITION FOR DAMAGES, SPECIFIC
                       PERFORMANCE & INJUNCTIVE RELIEF

       COMES NOW Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

(“VetBridge”), by and through counsel, and for its causes of action against NewMarket

Pharmaceuticals, LLC (“NewMarket”), states and alleges as follows:

                                           PARTIES

       1.      Plaintiff VetBridge is a limited liability company organized and existing under the

laws of the State of Missouri, with its principal place of business located at 1302 S. 59th Street,

St. Joseph, Missouri 64508.

       2.      Defendant NewMarket is a limited liability company organized and existing under

the laws of the State of Delaware, with its principal place of business located at 4 Pitcairn

Avenue, Suite 4, Trenton, New Jersey 08628. Defendant NewMarket may be served with

Summons and a copy of the Petition by leaving copies of the same at its principal place of

business with the person having charge thereof.



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                                 JURISDICTION & VENUE

       3.      This Court has personal jurisdiction over NewMarket pursuant to RSMo.

§506.500(1) and (2), in that, among other things, pursuant to Paragraph 14(b) of the Exclusive

Distribution and License Agreement which is the subject of this action, the parties consented to

jurisdiction within the Western District of Missouri where a party reasonably determined that

injunctive relief was necessary; such agreement was negotiated and entered into in the State of

Missouri; said agreement contemplated performance by both VetBridge and NewMarket within

the State of Missouri, including, but not limited to, NewMarket sending multiple invoices to

VetBridge in Missouri for payment of VetBridge’s investment from Missouri, and VetBridge’s

development and/or performance of its marketing, sales forecasting and distribution under the

agreement within and from the State of Missouri; NewMarket, through representatives and its

agents, attended several meetings in the State of Missouri, placed and participated in numerous

phone calls to and with VetBridge and its representatives and agents in the State of Missouri;

sent numerous emails and other documents and reports to VetBridge within the State of

Missouri; and otherwise transacted business within the State of Missouri. Further, VetBridge’s

causes of action herein arose out of the Exclusive Distribution and License Agreement and

NewMarket’s transaction of business within the State of Missouri, and NewMarket had sufficient

minimum contacts with the State of Missouri such that the exercise of personal jurisdiction over

NewMarket in this action comports with due process.

       4.      Venue in this Court is proper pursuant to RSMo. §508.010(4), in that NewMarket

is a non-resident.

                                           Count I
                                     (Breach of Contract)

       5.      NewMarket is engaged in developing drug delivery systems to enhance the

quality of treatment for animals, by employing state of the art formulation technology to develop

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      Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 21 of 104 019
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and adapt new oral delivery technologies for established medicines that exist in outdated or

inefficient delivery systems.

       6.          VetBridge and its members are companies engaged in the successful marketing,

sale and distribution of animal healthcare products and veterinary supplies, including vaccines

and pharmaceuticals, both nationally and internationally.

       7.          Effective, June 27, 2014 (“Effective Date”), for a term of thirty (30) years,

NewMarket, as Manufacturer, and VetBridge, as Distributor, entered into an Exclusive

Distribution and License Agreement (“Agreement”) with respect to the development,

manufacture, supply, marketing and distribution of NewMarket products, consisting of rapidly

dissolving formulations of omeprazole (used in the treatment and prevention of ulcers), including

omeprazole direct system introduction (DSI) compositions for use in all non-human animals,

especially equine animals (hereinafter, NewMarket’s “Omeprazole DSI Products”), as well as

the licensing all of NewMarket’s intellectual property and patent rights relating thereto. A true

and correct copy of the Agreement is attached hereto as Exhibit A and is incorporated herein by

reference.

       8.          Pursuant to the Agreement, in exchange for VetBridge’s payment of the total sum

of $4,000,000, to be paid as provided for therein, NewMarket, among other things,

             (a)      Appointed VetBridge as its “sole and exclusive authorized wholesale

                      distributor and reseller to advertise, promote, market, distribute, supply and

                      sell (“Distribute” or “Distribution”)” NewMarket’s Omeprazole DSI Products,

                      including (i) rapidly dissolving formulations of omeprazole (for both the

                      treatment and prevention of ulcers), including omeprazole direct system

                      introduction (DSI) compositions for use in all non-human animals, especially

                      equine animals; (ii) revisions, alterations or improvements to the


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         NewMarket’s Omeprazole DSI Products; and (iii) new veterinary products

         developed by NewMarket in the contractually agreed upon Field, consisting of

         the “veterinary use of rapidly dissolving formulations of omeprazole in all

         non-human animals including especially horses and other equine animals,”

         within the defined Territory, consisting of “the veterinary market in the United

         States of America including all of its states, districts, territories and

         possessions, including the District of Columbia”; and

   (b)   Granted VetBridge, “in connection with the Distribution of the [Omeprazole

         DSI] Products in the Territory, an exclusive, transferable, perpetual and

         royalty-free right and license to use, sell, offer for sale, import, and Distribute,

         with the right to sub-license, among other things, [NewMarket’s] IP

         associated with the [Omeprazole DSI] Products including but not limited to”

         NewMarket’s Patent Rights, “including all patents and patent applications,

         and all divisionals, continuations, continuations-in-part, counterparts, re-

         examinations, reissues, extensions, registrations, and supplementary or

         complementary certificates and the like, both domestic and foreign, and items

         which claim the benefit of priority to any of the foregoing,” “whether in whole

         or in part, directly or indirectly owned, licensed, and/or optioned (with the

         right to grant sub-licenses) by [NewMarket] or an affiliate thereof, as of the

         Effective Date or during the term of this Agreement, which relate to [the

         Omeprazole DSI] Products, and their development, manufacture, or use in the

         Field and in the Territory,” including, but not limited to, the following:




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                   Item Countr Patent Application or Filing Date         Title
                          y         Patent No.
                     1 US      61/437763             01/31/2011
                     2 US      13/343,692; issued as 01/04/2012;  Animal treatments
                               8,722,636             issued
                                                     05/13/2014
                                                     05/12/2014; Animal Treatments
                               14/275,019; issued as
                     3 US                            issued
                               10,022,361
                                                     07/18/2018
                                                     05/12/2014; Animal Treatment
                               14/275,031; issued as
                     4 US                            issued
                               9,402,835             08/02/2016
                     5    WO       PCT/US2012/020242       01/04/2012       Animal Treatment
                     6    US       61/674,435              07/23/2012
                     7    US       61/678,355              01/08/2012
                     8    US       61/641,509              02.05.2012
                     9    WO       PCT/US2012/070031       12/17/2012       Pharmaceutical
                                                                            compositions for
                                                                            direct systemic
                                                                            introduction
                     10 US        14/398,085              10/30/2014
                     11 US        16/014,290              06/21/2018


(Hereinafter collectively referred to as NewMarket’s “IP/Patent Rights”).

       9.     Pursuant to the Agreement, VetBridge’s $4,000,000 was to be used “solely for

direct expenses related to the development of the [Omeprazole DSI] Products,” including, but

not limited to, the direct expenses associated with preparing, prosecuting and obtaining approval

of a New Animal Drug Application (“NADA”) for such products, both for treatment and

prevention, from the Federal Food and Drug Administration’s (“FDA”) Center for Veterinary

Medicine (“CVM”) and conducting necessary field clinical studies through a third party Contract

Research Organization (“CRO”), VetPharm, Inc. (“VetPharm”) in connection with the same.

       10.    Except for VetBridge’s payment of $4,000,000, NewMarket was responsible for

performing and funding all other steps and tasks necessary to provide VetBridge with the

Omeprazole DSI Products in a saleable form for distribution, including, but not limited to,

obtaining the necessary approvals from the FDA’s CVM and manufacturing and supplying

VetBridge with the Omeprazole DSI Products in a saleable form for distribution.

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      Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 24 of 104 022
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       11.     VetBridge has fully performed its obligations under the Agreement and made

timely payment of the amounts it was invoiced by NewMarket with respect to the $4,000,000 it

agreed to pay under the Agreement. In fact, by November 23, 2015, VetBridge had paid

NewMarket the total sum of $4,002,435.

       12.     Despite doing so, and notwithstanding VetBridge’s numerous demands,

NewMarket has failed and refused to perform and provide the funding required to perform the

steps and tasks necessary to obtain FDA approval from the CVM and provide VetBridge with its

Omeprazole DSI Products in a saleable form for distribution; all in material breach of its

obligations under the Agreement.

       13.     As a direct and proximate result of NewMarket’s breach of its obligations under

the Agreement, VetBridge has sustained and continues to sustain substantial damages, including,

but not limited to, the fees and expenses VetBridge incurred to design and obtain trademark

registrations for the names and logos under which it intended to sell the Omeprazole DSI

Products, and the net profits VetBridge would have earned from the sale and distribution of such

Omeprazole DSI Products, in an amount to be determined at trial, but reasonably and

conservatively estimated to be in amount in excess of $81,000,000.

       14.     Further, pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       15.     All conditions precedent to maintaining this action have occurred or been waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays that judgment be entered in its favor and against NewMarket Pharmaceuticals,

LLC on Count I of its Petition for:

       (a)     VetBridge’s actual damages, including, but not limited to the fees and expenses

               VetBridge incurred to design and obtain trademark registrations for the names and


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      Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 25 of 104 023
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               logos under which it intended to sell NewMarket’s Omeprazole DSI Products, and

               the net profits VetBridge would have earned from the sale and distribution of such

               Omeprazole DSI Products; all in an amount to be determined at trial;

       (b)     Prejudgment and post judgment interest at the highest rate allowable by law;

       (c)     VetBridge’s reasonable attorneys’ fees and expenses;

       (d)     The costs of this action; and

       (e)     Such further and additional relief as the Court deems just and proper under the

               circumstances.

                                            Count II
                                       (Breach of Contract)

       16.     In the alternative, for Count II of its Petition, VetBridge restates and adopts by

reference the allegations set forth in ¶¶ 1 through 15, above, as though fully set forth herein.

       17.     Pursuant to the Agreement, VetBridge’s $4,000,000 was to be used “solely for

direct expenses related to the development of the [Omeprazole DSI] Products,” including, but

not limited to, the direct expenses associated with preparing, prosecuting and obtaining approval

of a NADA for such products, both for treatment and prevention, from the FDA’s CVM and

conducting necessary field clinical studies through VetPharm in connection with the same.

       18.     The Agreement provides that “any use of funds by [NewMarket] contrary to [the

foregoing restriction] shall provide [VetBridge] with the right to immediate repayment from

[NewMarket] of all monies paid to [NewMarket] by [VetBridge].”

       19.     By November 23, 2015, VetBridge had paid NewMarket the total sum of

$4,002,435. VetBridge’s payments of the foregoing sum were made in response to invoices

VetBridge received from NewMarket whereby NewMarket represented that the amounts

invoiced were for the direct expenses NewMarket had paid to the specified vendors or third

parties in connection with the development of its Omeprazole DSI Products.

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      Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 26 of 104 024
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       20.     The Agreement provides VetBridge with the right to audit NewMarket’s records

and information to, among other things, ensure that VetBridge’s payments were being used

solely in accordance with the express limitations and restrictions set forth in the Agreement.

       21.     On or about April 5, 2016, VetBridge requested that NewMarket provide it with a

detailed, itemized reconciliation of how VetBridge’s money was spent.

       22.     After reviewing the Excel spreadsheets NewMarket provided to VetBridge in

response to that request, it was discovered that, contrary to the Agreement’s restrictions and

limitations on NewMarket’s expenditure of the funds paid by VetBridge, as well as the

representations made by NewMarket in its invoices to VetBridge, NewMarket, among other

things, had used VetBridge’s funds to pay for salaries, wages, payroll taxes and other

administrative and overhead expenses in an amount in excess of $1,000,000, and that

NewMarket, pursuant to the invoices it submitted to VetBridge, had overcharged VetBridge by

approximately $1,612,070.15 from what it actually paid the vendors and other third parties, as

reflected on such invoices.

       23.     As a result of the foregoing, on or about May 17, 2016, VetBridge notified

NewMarket of its findings and advised that it was necessary for VetBridge to conduct a detailed

audit of the NewMarket’s invoices to VetBridge, as well as the underlying expenses and the

invoices reflected thereon, so that it could ensure that the amounts NewMarket charged to

VetBridge were proper.

       24.     NewMarket has failed and refused to permit VetBridge to conduct the requested

audit, or to provide VetBridge with access to the information and records necessary to conduct

the same.

       25.     Pursuant to the Agreement, and because NewMarket used the funds paid by

VetBridge contrary to the limitations and restrictions in the Agreement, as an alternative to its


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      Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 27 of 104 025
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claim for breach of contract in Count I, above, VetBridge is entitled to repayment of the full

$4,002,435 it paid to NewMarket, together with prejudgment interest at the highest rate

allowable by law from the date(s) VetBridge paid such sums to NewMarket.

       26.     Further, pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       27.     All conditions precedent to the maintenance of this action have occurred or been

waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays that judgment be entered in its favor and against NewMarket Pharmaceuticals,

LLC on Count II of its Petition for:

       (a)     The principal sum of $4,002,435;

       (b)     prejudgment and post-judgment interest at the highest rate allowable by law;

       (c)     VetBridge’s reasonable attorneys’ fees and expenses;

       (d)     The costs of this action; and

       (e)     Such further and additional relief as the Court deems just and proper under the

               circumstances.

                                              Count III
                                       (Specific Performance)

       28.     For Count III of its Petition, VetBridge restates and adopts by reference the

allegations set forth in ¶¶ 1 through 27, above, as though fully set forth herein.

       29.     The Agreement expressly prohibited NewMarket from assigning, subcontracting,

delegating or otherwise transferring any of its rights or obligations under the Agreement, or from

contracting with any third parties to perform any of its obligations under the Agreement, without

VetBridge’s prior written consent, which consent has never been given.



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      Case 5:18-cv-06147-BCW Document 30-2 Filed 11/15/18 Page 28 of 104 026
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       30.     Further, given NewMarket’s grant to VetBridge of “an exclusive, transferable,

perpetual and royalty-free right and license to use, sell, offer for sale, import, and Distribute,

with the right to sub-license” NewMarket’s IP/Patent Rights within the agreed upon Field and

Territory, NewMarket was prohibited from assigning or granting to any other person or entity a

license for its IP/Patent Rights in the contractually agreed upon Field (i.e., the “veterinary use of

rapidly dissolving formulations of omeprazole in all non-human animals including especially

horses and other equine animals”) and Territory (i.e., “the veterinary market in the United States

of America including all of its states, districts, territories and possessions, including the District

of Columbia”). Additionally, the Agreement, at Paragraph 12(f), expressly prohibits NewMarket

from granting any security interests or permitting any liens against its IP/Patent Rights, without

VetBridge’s prior consent, which consent has never been given.

       31.     Further, pursuant to the Agreement, VetBridge and NewMarket agreed that the

parties intended that NewMarket would retain control of the manufacturing and supply of the

Omeprazole DSI Products to VetBridge, and agreed, in the event of a “change of control” of

NewMarket, that

               [VetBridge] shall have the exclusive right to make and

               commercialize [the Omeprazole DSI] Products in the Field and in

               the Territory as granted under the Agreement as well as the right to

               assume the beneficial position of [NewMarket’s] relationship with

               any Collaborator [including, but not limited to, Collaborators

               Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

               India,] to make and commercialize the [Omeprazole DSI] Product

               in the Field and in the Territory without further consideration or

               compensation to [NewMarket’s] successor. At its sole discretion,


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              in the event of a change of control of [NewMarket], [VetBridge]

              will have the right to…obtain a license from [NewMarket] (or its

              successor as applicable) for all rights to the [Omeprazole DSI]

              Products, including manufacturing, subject to no more than a

              maximum running royalty rate of 7.00% of Net Sales (whereby,

              unless mutually agreed otherwise, "Net Sales" shall correspond to

              gross revenues received from the sale of [the Omeprazole DSI]

              Products less sales and/or use taxes actually paid, import and/or

              export duties actually paid, outbound transportation prepaid or

              allowed, and amounts allowed or credited due to returns (not to

              exceed the original billing or invoice amount), with such maximum

              royalty rate contingent upon [VetBridge] securing no less

              favorable      terms   with   any   [NewMarket]    Collaborators   as

              [NewMarket] had obtained….

(Agreement at ¶13(d)(ii)).

       32.    For purposes of the foregoing provision, NewMarket and VetBridge agreed that a

“change of control,” included the following events, among others:

              (i) any Person is or becomes the "beneficial owner" (as defined in

              Rules 13d-3 and 13d-5 of the Securities Exchange Act of 1934, as

              amended, except that a person shall be deemed to have "beneficial

              ownership" of all shares that any such person has the right to

              acquire, whether such right is exercisable immediately or only after

              the passage of time), directly or indirectly, of over 50% of the total

              voting power of all classes of capital stock then outstanding of


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               [NewMarket] normally entitled to vote in elections of directors; ….

               or (iii) a party conveys, transfers or leases all or substantially all of

               its assets relating to this agreement to any person….”

       33.     On October 10, 2014, the parties’ filed a “NOTICE OF LICENSE RIGHTS IN A

US PATENT APPLICATION OR US PATENT” with the U.S. Patent and Trademark Office

(“USPTO”), as Document No. 503014511, EPAS ID: PAT3061111, at Patent Reel 033930,

Frame 0226-0228, giving notice to the world of VetBridge’s rights in the IP/Patent Rights.

       34.     On or about May 6, 2016, NewMarket informed VetBridge for the first time, that

it had purportedly transferred an 80% ownership interest in NewMarket to Aboris Animal

Health, LLC (“Aboris”), a Delaware limited liability company; that it had purportedly assigned

its right to manufacture its Omeprazole DSI Products to Aboris; and that it had purportedly

transferred its IP/Patent Rights related to the Omeprazole DSI Products to an unnamed, overseas

company for “tax purposes.”

       35.     Thereafter, on or about March 29, 2017, NewMarket advised VetBridge that it

had completed its engagement of AgriCapital, as a broker, for the purported sale of the

distribution rights to NewMarket’s Omeprazole DSI Products on a global basis, including within

the United States, in direct violation of VetBridge’s exclusive rights under the Agreement.

       36.     Upon information and belief, NewMarket’s IP/Patent Rights with respect to its

Omeprazole DSI Products and its relationship with any Collaborators, including, but not limited

to, Collaborators Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of India, to make

and commercialize its Omeprazole DSI Products, constitute all or substantially all of

NewMarket’s assets relating to the Agreement.

       37.     NewMarket’s purported assignment of its right to manufacture its Omeprazole

DSI Products to Aboris, as well as the purported transfer of its IP/Patent Rights related to the


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Omeprazole DSI Products to an unnamed, overseas company for “tax purposes,” constitute a

change of control under the Agreement, as did the purported transfer of an 80% ownership

interest in NewMarket to Aboris.

       38.         Further, NewMarket’s purported assignment of its right to manufacture its

Omeprazole DSI Products to Aboris and the purported transfer of its IP/Patent Rights related to

the Omeprazole DSI Products to an unnamed, overseas company for “tax purposes,” if actually

done, though no assignments of such rights have been filed with the USPTO, as well as its

engagement of AgriCapital, as a broker, for the purported sale of the distribution rights to

NewMarket’s Omeprazole DSI Products on a global basis, including within the United States,

were done without VetBridge’s consent, written or otherwise, constitute material breaches of

NewMarket’s obligations under the Agreement, and are void.

       39.         VetBridge’s rights under the Agreement and in NewMarket’s Omeprazole DSI

Products and the IP/Patent Rights relating thereto are unique, and VetBridge is without an

adequate remedy at law.

       40.         As a direct and proximate result of the change of control with respect to

NewMarket, and its material breaches of the Agreement, VetBridge is entitled to a judgment of

specific performance, granting VetBridge

             (a)      The exclusive right to make and commercialize [the

                      Omeprazole DSI] Products in the Field and in the Territory as

                      granted under the Agreement as well as the right to assume the

                      beneficial position of [NewMarket’s] relationship with any

                      Collaborator [including, but not limited to, Collaborators

                      Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

                      India,] to make and commercialize the [Omeprazole DSI]


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                      Product in the Field and in the Territory without further

                      consideration or compensation to [NewMarket’s] successor;

                      and

             (b)      A license from [NewMarket] (or its successor as applicable)

                      for all rights to the [Omeprazole DSI] Products, including

                      manufacturing, subject to no more than a maximum running

                      royalty rate of 7.00% of Net Sales (whereby, unless mutually

                      agreed otherwise, "Net Sales" shall correspond to gross

                      revenues received from the sale of [the Omeprazole DSI]

                      Products less sales and/or use taxes actually paid, import and/or

                      export duties actually paid, outbound transportation prepaid or

                      allowed, and amounts allowed or credited due to returns (not to

                      exceed the original billing or invoice amount), with such

                      maximum royalty rate contingent upon [VetBridge] securing

                      no less favorable terms with any [NewMarket] Collaborators as

                      [NewMarket] had obtained.

       41.         Further, pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       42.         All conditions precedent to maintaining this action have occurred or been waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays that judgment be entered in its favor and against NewMarket Pharmaceuticals,

LLC on Count III of its Petition for specific performance under the Agreement, granting

VetBridge:




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    (a)    The exclusive right to make and commercialize [the

           Omeprazole DSI] Products in the Field and in the Territory as

           granted under the Agreement as well as the right to assume the

           beneficial position of [NewMarket’s] relationship with any

           Collaborator [including, but not limited to, Collaborators

           Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

           India,] to make and commercialize the [Omeprazole DSI]

           Product in the Field and in the Territory without further

           consideration or compensation to [NewMarket’s] successor;

           and

    (b)    A license from [NewMarket] (or its successor as applicable)

           for all rights to the [Omeprazole DSI] Products, including

           manufacturing, subject to no more than a maximum running

           royalty rate of 7.00% of Net Sales (whereby, unless mutually

           agreed otherwise, "Net Sales" shall correspond to gross

           revenues received from the sale of [the Omeprazole DSI]

           Products less sales and/or use taxes actually paid, import and/or

           export duties actually paid, outbound transportation prepaid or

           allowed, and amounts allowed or credited due to returns (not to

           exceed the original billing or invoice amount), with such

           maximum royalty rate contingent upon [VetBridge] securing

           no less favorable terms with any [NewMarket] Collaborators as

           [NewMarket] had obtained;

 Together with:


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             (c)      An award of VetBridge’s reasonable attorneys’ fees and

                      expenses;

             (d)      The costs of this action; and

             (e)      Such further and additional relief as the Court deems just and equitable under

                      the circumstances.

                                          COUNT IV
                     (Temporary, Preliminary & Permanent Injunctive Relief)

       43.         For Count IV of its Petition, VetBridge restates and adopts by reference the

allegations set forth in ¶¶ 1 through 42, above, as though fully set forth herein.

       44.         As set forth in Count III, above, based upon NewMarket’s “change of control,”

VetBridge has a probability of success on the merits, pursuant to Paragraph 13(d)(ii) of the

Agreement, that it has the right to a judgment of specific performance granting VetBridge,

among other things:

             (a)      The exclusive right to make and commercialize [the

                      Omeprazole DSI] Products in the Field and in the Territory as

                      granted under the Agreement as well as the right to assume the

                      beneficial position of [NewMarket’s] relationship with any

                      Collaborator [including, but not limited to, Collaborators

                      Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

                      India,] to make and commercialize the [Omeprazole DSI]

                      Product in the Field and in the Territory without further

                      consideration or compensation to [NewMarket’s] successor;

                      and

             (b)      A license from [NewMarket] (or its successor as applicable)

                      for all rights to the [Omeprazole DSI] Products, including

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                  manufacturing, subject to no more than a maximum running

                  royalty rate of 7.00% of Net Sales (whereby, unless mutually

                  agreed otherwise, "Net Sales" shall correspond to gross

                  revenues received from the sale of [the Omeprazole DSI]

                  Products less sales and/or use taxes actually paid, import and/or

                  export duties actually paid, outbound transportation prepaid or

                  allowed, and amounts allowed or credited due to returns (not to

                  exceed the original billing or invoice amount), with such

                  maximum royalty rate contingent upon [VetBridge] securing

                  no less favorable terms with any [NewMarket] Collaborators as

                  [NewMarket] had obtained.

       45.    Given NewMarket’s prior assertions to VetBridge, among other things, (a) that it

purportedly assigned its right to manufacture its Omeprazole DSI Products to Aboris; and (b)

that it purportedly transferred its IP/Patent Rights related to the Omeprazole DSI Products to an

unnamed, overseas company for “tax purposes”; which, if done, were in material breach of the

Agreement and in direct violation of VetBridge’s exclusive distribution rights and license in and

to NewMarket’s Omeprazole DSI Products and IP/Patent Rights thereunder; as well as (c) that it

has purportedly retained a broker to sell the distribution rights to NewMarket’s Omeprazole DSI

Products on a global basis, including within the Field and Territory exclusively granted to

VetBridge under the Agreement, VetBridge has a reasonable apprehension that, if not

temporarily, preliminarily and permanently enjoined from directly or indirectly pledging,

encumbering, assigning, transferring, disposing of or otherwise conveying or granting any rights

or interests in or to NewMarket’s Omeprazole DSI Products and/or its IP/Patent Rights relating

thereto in the contractually agreed upon Field and Territory, NewMarket will take some action


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relating thereto which would render a judgment of specific performance in VetBridge’s favor, as

requested in Count III, ineffectual.

       46.     VetBridge’s apprehension in this regard is heightened by the fact that NewMarket

is currently involved in litigation with VetPharm, the CRO that performed all of the field clinical

studies and has possession of all of the data and results of those field clinical studies necessary

for NewMarket to pursue and obtain approval of its Omeprazole DSI Products for sale and

distribution from the FDA’s CVM, in the case styled NewMarket Pharmaceuticals, LLC v.

VetPharm, Inc., No. 3:17-CV-01852-MAS-TJB (the “VetPharm Litigation”), currently pending

in the U.S. District Court for the District of New Jersey. In the VetPharm Litigation, VetPharm,

among other things, claims it is owed more than $900,000 from NewMarket for the work it

performed with respect to such field clinical studies and has refused to release any of the data

and results relating thereto, without first receiving payment of the amounts its claims are due and

owing; and NewMarket has repeatedly stated its clear intention to enter into certain unspecified

“business arrangements” with third parties to obtain necessary funding to pursue its NADA

before the FDA’s CVM, and to thereafter pursue the manufacture and distribution of its

Omeprazole DSI Products once approval from the FDA’s CVM is obtained.

       47.     Since NewMarket has represented that it is a single drug, drug company, and has

no products other than its Omeprazole DSI Products and its IP/Patent Rights relating thereto,

VetBridge has a reasonable apprehension that such unspecified “business arrangements” would

necessarily include and directly or indirectly interfere with VetBridge’s exclusive distribution

rights and license in and to NewMarket’s Omeprazole DSI Products and IP/Patent Rights

thereunder.

       48.     Moreover, VetBridge recently learned that NewMarket has discontinued its

payroll, and that the person principally involved in handling the pursuit of NewMarket’s NADA


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with the FDA’s CVM, Dr. Dave Rock, its Vice-President of Research and Development, is no

longer employed by NewMarket; causing even greater concern that NewMarket does not have

the financial resources to remain in business, let alone pursue the required FDA approval that is

necessary for the manufacture and sale of the Omeprazole DSI Products, creating a substantial

risk that NewMarket will grant unknown third persons or entities rights that will interfere with

VetBridge’s exclusive distribution rights and license in and to NewMarket’s Omeprazole DSI

Products and IP/Patent Rights thereunder.

       49.         In the absence of a temporary, preliminary and permanent injunction as requested

herein, VetBridge will suffer immediate and irreparable harm in that, among other things,

             (a)      VetBridge’s rights under the Agreement and in NewMarket’s Omeprazole

                      DSI Products and the IP/Patent Rights relating thereto are unique, such that

                      VetBridge does not have an adequate remedy at law, and

             (b)      Any judgment of specific performance, as requested in Count III, above,

                      would be rendered ineffectual if NewMarket, while this action is pending, was

                      to directly or indirectly pledge, encumber, assign, transfer, dispose of or

                      otherwise convey or grant any rights or interest in or to its Omeprazole DSI

                      Products and/or its IP/Patent Rights relating thereto to any person or entity in

                      direct violation of VetBridge’s exclusive rights and license in and to the same.

       50.         The harm VetBridge will suffer if NewMarket is not temporarily, preliminarily

and permanently enjoined and restrained from directly or indirectly pledging, encumbering,

assigning, transferring, disposing of or otherwise conveying or granting any rights or interests in

or to NewMarket’s Omeprazole DSI Products and/or its IP/Patent Rights relating thereto in the

Field and Territory, outweighs any potential harm to NewMarket in being required to comply

with the Agreement, which it knowingly and voluntarily entered into and for which it received


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$4,002,435 from VetBridge, in that VetBridge will lose not only the benefit of its bargain, but

the exclusive right to make and commercialize the Omeprazole DSI Products in Field and

Territory, as granted under the Agreement, as well as the right to assume the beneficial position

of [NewMarket’s] relationships with any Collaborators, including, but not limited to,

Collaborators Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of India, to make and

commercialize the [Omeprazole DSI] Product in the Field and Territory.

       51.         The public interest will be advanced requiring NewMarket to comply with the

terms of the Agreement.

       52.         Pursuant to Mo. R. Civ. P. 92.02(b), VetBridge states that its request for a

temporary restraining order should be heard ex parte because prior notice would defeat the

purpose of the requested temporary restraining order in that it would provide NewMarket with an

opportunity, prior to the issuance of a temporary restraining order, to directly or indirectly

pledge, encumber, assign, transfer, dispose of or otherwise convey or grant any rights or interest

in or to its Omeprazole DSI Products and/or its IP/Patent Rights relating thereto, thereby

defeating the very purpose of the requested relief.

       53.         Pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       54.         All conditions precedent to maintaining this action have occurred or been waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays, in accordance with Mo. R. Civ. P. 92.02 and RSMo. §526.050, that judgment

be entered in its favor and against NewMarket Pharmaceuticals, LLC on Count IV of its Petition,

             (a)      Temporarily, preliminarily, and permanently enjoining and restraining

                      NewMarket Pharmaceutical, LLC, together with its officers, managers,

                      members, agents, affiliates, attorneys, and employees, and all other persons in


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                   active concert or participation with them, from directly or indirectly pledging,

                   encumbering, assigning, transferring, disposing of or otherwise conveying or

                   granting any rights or interests in or to NewMarket’s Omeprazole DSI

                   Products and/or its IP/Patent Rights relating thereto in the Field and Territory,

       Together with:

           (b)     An award of VetBridge’s reasonable attorneys’ fees and expenses;

           (c)     The costs of this action; and

           (d)     Such further and additional relief as the Court deems just and equitable under

                   the circumstances.

                                        JURY DEMAND

       COME NOW Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC,

by and through counsel, and respectfully demands a jury trial on every issue so triable.



Dated: August 28, 2018.                            Respectfully submitted by,

                                                   LATHROP & GAGE LLP

                                                   BY: Greer S. Lang
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                                                   Brian W. Fields      MO #45704
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            IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              (DIVISION NO. )


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
                                                  )
               Plaintiff,                         )    Case No.
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
                                                  )
               Defendant.
                                                  )


            EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”),

by and through counsel, and pursuant to Missouri Rule of Civil Procedure 92.02(b), moves the

Court for a temporary restraining order, without notice, to enjoin and restrain Defendant

NewMarket Pharmaceuticals, LLC (“Defendant” or NewMarket”), in breach of VetBridge’s

exclusive distribution rights and license granted under the the parties’ June 27, 2014 Exclusive

Distribution and License Agreement (“Agreement”), attached as Exhibit A to VetBridge’s

Verified Petition for Damages, Specific Performance & Injunctive Relief (“Verified Petition”),

from directly or indirectly pledging, encumbering, assigning, transferring, disposing of or

otherwise conveying or granting any rights or interests in or to:

       1.      NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving

               formulations of omeprazole (used for both the treatment and prevention of ulcers),

               including omeprazole direct systemic introduction (DSI) compositions for use in

               all non-human animals including especially equine animals, and (b) any revisions,

               alterations, or improvements to such products (collectively, the “Omeprazole DSI

               Products), and/or



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 2.   NewMarket’s IP/Patent Rights relating thereto, including all patents and patent

      applications,   and    all   divisionals,   continuations,       continuations-in-part,

      counterparts,   re-examinations,     reissues,     extensions,    registrations,     and

      supplementary or complementary certificates and the like, both domestic and

      foreign, and items which claim the benefit of priority to any of the foregoing,

      whether in whole or in part, directly or indirectly owned, licensed, and/or

      optioned (with the right to grant sub-licenses) by NewMarket or an affiliate

      thereof, as of the Effective Date of the Agreement (June 27, 2014) or during the

      term of said Agreement, which relate to the Omeprazole DSI Products, and their

      development, manufacture, or use, including, but not limited to, the following:

         Item    Country Patent Application       Filing Date         Title
                             or Patent No.
           1     US      61/437763             01/31/2011
           2     US      13/343,692; issued as 01/04/2012;     Animal treatments
                         8,722,636             issued
                                               05/13/2014
                                               05/12/2014;    Animal Treatments
                         14/275,019; issued as
           3     US                            issued
                         10,022,361
                                               07/18/2018
                                               05/12/2014;    Animal Treatment
                         14/275,031; issued as
           4     US                            issued
                         9,402,835             08/02/2016
           5     WO         PCT/US2012/020242          01/04/2012      Animal Treatment
           6     US         61/674,435                 07/23/2012
           7     US         61/678,355                 01/08/2012
           8     US         61/641,509                 02.05.2012
           9     WO         PCT/US2012/070031          12/17/2012       Pharmaceutical
                                                                        compositions for
                                                                        direct systemic
                                                                        introduction
          10    US          14/398,085             10/30/2014
          11    US          16/014,290             06/21/2018


      (collectively, the “IP/Patent Rights”),




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in the Field (consisting of the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals) and Territory (consisting of the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia).

        In support of this Motion, VetBridge incorporates by reference its Verified Petition,

which is being filed concurrently herewith, as though fully set forth herein.

        WHEREFORE, for the reasons set forth in its Verified Petition, Plaintiff VetBridge

Product Development Subsidiary I (NM-OMP), LLC respectfully requests that the Court grant

this Motion and enter a Temporary Restraining Order, temporarily enjoining and restraining

Defendant VetBridge Pharmaceuticals, LLC, as set forth in the proposed Temporary Restraining

Order being submitted herewith.



Dated: August 28, 2018.                               Respectfully submitted by,

                                                      LATHROP & GAGE LLP

                                                      BY: Greer S. Lang
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                                                      Attorneys for Plaintiff




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Joel A. Pisano 
Direct Dial: (973) 757‐1035 
jpisano@walsh.law 
                                                      September 7, 2018
VIA ECF
Honorable Michael A. Shipp, U.S.D.J.
United States District Court for the District of New Jersey
Clarkson S. Fisher Federal Building & U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

          Re:       NewMarket Pharmaceuticals, LLC v. VetPharm, Inc. et al.
                    Civil Action No. 3:17-cv-01852-MAS-TJB

Dear Judge Shipp:

        This firm, together with Cadwalader, Wickersham & Taft LLP, represents Plaintiff
NewMarket Pharmaceuticals, LLC (“Plaintiff” or “NewMarket”) in the above-referenced matter.
We write to advise this Court of a recently-filed lawsuit against NewMarket by a company called
VetBridge Product Development Subsidiary (“VetBridge”). (Exhibit 1).1 VetBridge would be a
partial distributor of NewMarket’s drug if its drug is ever approved by the FDA.

        In VetBridge v. NewMarket, the Circuit Court of Buchanan County, Missouri (18BU-
CV03640) issued an Ex Parte Temporary Restraining Order against NewMarket from “directly or
indirectly pledging, encumbering, assigning, transferring, disposing of or otherwise conveying or
granting any rights or interests in or to [NewMarket’s Intellectual Property]”. (Exhibit 2).
NewMarket has attached the filings from the Missouri State Court for the convenience of this
Court. (See Exhibits 1-3). NewMarket respectfully notes the following facts to the extent the
facts are relevant to any decision forthcoming from this Court:

          •     VetBridge claims that “NewMarket has failed to and refused to perform and provide
                the funding required to perform the steps and tasks necessary to obtain FDA
                approval from the CVM and provide VetBridge with [the product].” (Exhibit 1,
                Complaint at ¶12).

          •     VetBridge argued that it was entitled to a TRO because “NewMarket does not have
                the financial resources to remain in business, let alone pursue the required FDA


                                                       
1
             Exhibit A attached to the Missouri State Court Complaint is confidential. It
appears as if Exhibit A was made publicly available by virtue of being electronically filed.
As NewMarket endeavors to ascertain whether or not VetBridge has breached
confidentiality requirements NewMarket respectfully requests that the Court and
VetPharm keep Exhibit A under seal.

 
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           approval that is necessary for the manufacture and sale of [the product].” (Id. at
           ¶48).

       •   VetBridge claims that it is entitled to damages equal to the “net profits VetBridge
           would have earned from the sale and distribution … in an amount to be determined
           at trial, but reasonably and conservatively estimated to be in the amount in excess of
           $81,000,000. (Id. at ¶13).

        NewMarket did not receive any notice of the Complaint or TRO until yesterday. To the
extent the Missouri State Court case is not dismissed NewMarket will seek to consolidate that
action with the present case in this Court.

      We thank the Court for its continued attention to this matter, and are available should
Your Honor or Your Honor’s staff require anything further or have any questions.


                                                    Respectfully submitted,

                                                    s/Joel A. Pisano

                                                    Joel A. Pisano


cc:    All Counsel of Record (via E-mail)




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                               EXHIBIT 2




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                               EXHIBIT 3




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                                                                                                     Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
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             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                               (DIVISION NO. )


 VetBridge Product Development Subsidiary I        )
 (NM-OMP), LLC,                                    )
                                                   )
                Plaintiff,                         )    Case No.
                                                   )
 vs.                                               )
                                                   )
 NewMarket Pharmaceuticals, LLC,                   )
                                                   )
                Defendant.
                                                   )


             EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

        Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”),

 by and through counsel, and pursuant to Missouri Rule of Civil Procedure 92.02(b), moves the

 Court for a temporary restraining order, without notice, to enjoin and restrain Defendant

 NewMarket Pharmaceuticals, LLC (“Defendant” or NewMarket”), in breach of VetBridge’s

 exclusive distribution rights and license granted under the the parties’ June 27, 2014 Exclusive

 Distribution and License Agreement (“Agreement”), attached as Exhibit A to VetBridge’s

 Verified Petition for Damages, Specific Performance & Injunctive Relief (“Verified Petition”),

 from directly or indirectly pledging, encumbering, assigning, transferring, disposing of or

 otherwise conveying or granting any rights or interests in or to:

        1.      NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving

                formulations of omeprazole (used for both the treatment and prevention of ulcers),

                including omeprazole direct systemic introduction (DSI) compositions for use in

                all non-human animals including especially equine animals, and (b) any revisions,

                alterations, or improvements to such products (collectively, the “Omeprazole DSI

                Products), and/or



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       2.    NewMarket’s IP/Patent Rights relating thereto, including all patents and patent

             applications,   and    all   divisionals,   continuations,       continuations-in-part,

             counterparts,   re-examinations,     reissues,     extensions,    registrations,     and

             supplementary or complementary certificates and the like, both domestic and

             foreign, and items which claim the benefit of priority to any of the foregoing,

             whether in whole or in part, directly or indirectly owned, licensed, and/or

             optioned (with the right to grant sub-licenses) by NewMarket or an affiliate

             thereof, as of the Effective Date of the Agreement (June 27, 2014) or during the

             term of said Agreement, which relate to the Omeprazole DSI Products, and their

             development, manufacture, or use, including, but not limited to, the following:

                Item    Country Patent Application       Filing Date         Title
                                    or Patent No.
                  1     US      61/437763             01/31/2011
                  2     US      13/343,692; issued as 01/04/2012;     Animal treatments
                                8,722,636             issued
                                                      05/13/2014
                                                      05/12/2014;    Animal Treatments
                                14/275,019; issued as
                  3     US                            issued
                                10,022,361
                                                      07/18/2018
                                                      05/12/2014;    Animal Treatment
                                14/275,031; issued as
                  4     US                            issued
                                9,402,835             08/02/2016
                  5     WO         PCT/US2012/020242          01/04/2012      Animal Treatment
                  6     US         61/674,435                 07/23/2012
                  7     US         61/678,355                 01/08/2012
                  8     US         61/641,509                 02.05.2012
                  9     WO         PCT/US2012/070031          12/17/2012       Pharmaceutical
                                                                               compositions for
                                                                               direct systemic
                                                                               introduction
                 10    US          14/398,085             10/30/2014
                 11    US          16/014,290             06/21/2018


             (collectively, the “IP/Patent Rights”),




                                    2
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 in the Field (consisting of the veterinary use of rapidly dissolving formulations of omeprazole in all non-

 human animals including especially horses and other equine animals) and Territory (consisting of the

 veterinary market in the United States of America including all of its states, districts, territories, and

 possessions, including the District of Columbia).

         In support of this Motion, VetBridge incorporates by reference its Verified Petition,

 which is being filed concurrently herewith, as though fully set forth herein.

         WHEREFORE, for the reasons set forth in its Verified Petition, Plaintiff VetBridge

 Product Development Subsidiary I (NM-OMP), LLC respectfully requests that the Court grant

 this Motion and enter a Temporary Restraining Order, temporarily enjoining and restraining

 Defendant VetBridge Pharmaceuticals, LLC, as set forth in the proposed Temporary Restraining

 Order being submitted herewith.



 Dated: August 28, 2018.                               Respectfully submitted by,

                                                       LATHROP & GAGE LLP

                                                       BY: Greer S. Lang
                                                       Greer S. Lang        MO #40107
                                                       Brian W. Fields      MO #45704
                                                       2345 Grand Boulevard, Suite 2200
                                                       Kansas City, Missouri 64108-2618
                                                       Phone: 816.292.2000
                                                       Fax: 816.292.2001
                                                       glang@lathropgage.com
                                                       bfields@lathropgage.com

                                                       Attorneys for Plaintiff




                                     3
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 1037 Raymond Blvd, Suite 600                     200 Liberty Street
 Newark, NJ 07102                                 New York, NY 10281
 (973) 757-1100                                   (212) 504-6000

 Attorneys for Plaintiff
 NewMarket Pharmaceuticals, LLC

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


NEWMARKET PHARMACEUTICALS, LLC,                               Civil Action No. 3:17-cv-01852
a Delaware limited liability company,                                   (MAS-TJB)

                       Plaintiff,
                                                            NOTICE OF MOTION TO SEAL
                       v.
                                                             Return Date: November 5, 2018
VETPHARM, INC., a New York corporation;
DENNI O. DAY; an individual; and
PRELUDE DYNAMICS, LLC, a Texas limited                              Filed Electronically
liability company,

                       Defendants.



       PLEASE TAKE NOTICE that on November 5, 2018, or as soon thereafter as counsel

may be heard, the undersigned, attorneys for Plaintiff NewMarket Pharmaceuticals, LLC

(“Plaintiff”) shall move before the Honorable Tonianne J. Bongiovanni, U.S.M.J., at the Clarkson

S. Fischer Building & U.S. Courthouse, 402 East State Street, Trenton, NJ 08608, for the entry of

an Order pursuant to Local Civil Rule 5.3(c) to Seal the following filings or portions thereof:

          1. The entirety of Exhibit 1 to Plaintiff’s September 7, 2018 Letter to the Hon.

              Michael A. Shipp, U.S.D.J. (D.E. 88); and




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                                                                Lang Dec., EXHIBIT C
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          2. VetPharm, Inc.’s September 11, 2018 Letter to the Hon. Michael A. Shipp,

              U.S.D.J. (D.E. 90).

       PLEASE TAKE FURTHER NOTICE THAT the Plaintiff shall rely upon the

accompanying Proposed Findings of Fact and Conclusions of Law, Declaration of Joel A. Pisano

with Exhibit 1 annexed thereto; and all papers submitted herewith.

       PLEASE TAKE FURTHER NOTICE THAT that Defendants do not object to this

motion.

       PLEASE TAKE FURTHER NOTICE THAT a proposed form of Order is also

submitted for the Court’s consideration.


 Respectfully submitted,                         Dated: September 26, 2018

                                                 By: s/Joel A. Pisano
                                                 Joel A. Pisano
                                                 Selina M. Ellis
                                                 WALSH PIZZI O’REILLY FALANGA LLP
                                                 One Riverfront Plaza
                                                 1037 Raymond Blvd, Suite 600
                                                 Newark, NJ 07102
                                                 (973) 757-1100

                                                 Of Counsel
                                                 Robert M. Pollaro
                                                 John T. Moehringer
                                                 CADWALADER, WICKERSHAM & TAFT
                                                 LLP
                                                 200 Liberty Street
                                                 New York, NY 10281
                                                 (212) 504-6000

                                                 Attorneys for Plaintiff
                                                 NewMarket Pharmaceuticals, LLC




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 Attorneys for Plaintiff
 NewMarket Pharmaceuticals, LLC

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 NEWMARKET PHARMACEUTICALS, LLC,                                Civil Action No. 3:17-cv-01852
 a Delaware limited liability company,                                    (MAS-TJB)

                        Plaintiff,
                                                                   DECLARATION OF
                        v.                                   JOEL A. PISANO IN SUPPORT OF
                                                                   MOTION TO SEAL
 VETPHARM, INC., a New York corporation;
 DENNI O. DAY; an individual; and                                    Filed Electronically
 PRELUDE DYNAMICS, LLC, a Texas limited
 liability company,

                        Defendants.



          I, Joel A. Pisano, do hereby declare as follows:

          1.      I am an attorney with Walsh Pizzi O’Reilly Falanga LLP. I am fully familiar

  with the facts set forth herein.

          2.      I submit this Declaration in support of Plaintiff’s Motion to Seal the following

  filings or portions thereof: (1) The entirety of Exhibit 1 to Plaintiff’s September 7, 2018 Letter

  to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 88); and (2) VetPharm, Inc.’s September 11,

  2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 90). Specifically, Plaintiff seeks to

  seal the select portions of the above documents identified in the Index attached hereto as


                                                  1

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  Exhibit 1. These select portions of the above documents are collectively referred to herein as

  the “Confidential Information.”

        3.       In particular, the Confidential Information discloses Plaintiff’s proprietary

 commercial and business interests, including information relevant to Plaintiff’s partial

 distribution and license agreement with a third party that the parties maintain in confidence in

 light of the highly competitive marketplace. Disclosure of this information would result in

 substantial harm to Plaintiff and/or third party’s ability to compete in the marketplace.

        4.       It is my understanding that the Confidential Information contain information

 regarding the partial distribution and license agreement and have been designated and/or

 otherwise treated as confidential by Plaintiff and/or third party.

        5.       There is a substantial public interest in ensuring that non-public information

 relating to Plaintiff and/or third party’s competitively sensitive and propriety business

 information remains confidential and will not become public at a later date.

        6.       The non-public and competitively sensitive and propriety business information

 of Plaintiff and/or third party, from which competitors could identify Plaintiff and/or third

 party’s commercial interests embodies content which, if disclosed, would likely harm Plaintiff

 and/or third party’s competitive standing in the marketplace.

        7.       Plaintiff and/or third party have a continuing interest to ensure that their

 confidential and proprietary non-public information remains undisclosed. If this information

 were to become available, Plaintiff and/or third party’s confidential business information will

 be publicized. Plaintiff and/or third party operate in a competitive marketplace, one in which

 competitors may exploit the information for their own benefit and to Plaintiff and/or third

 party's detriment. If other, more well established competitors were able to use the information

 contained in the Confidential Information, that would, at the very least, cause Plaintiff and/or

                                                   2

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 third party to suffer serious and irreparable financial injury.  

        8.        There is no less restrictive alternative other than sealing portions of the above-

 listed documents. This is the least restrictive alternative available to protect the nonpublic

 highly confidential information contained in the documents. 

          I declare that the foregoing statements made by me are true and am aware that if any of

  the foregoing statements made by me are willingly false that I am subject to punishment.



  Dated: September 26, 2018                                           s/Joel A. Pisano
                                                                     Joel A. Pisano




                                                    3

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                            EXHIBIT 1




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                                                                INDEX IN SUPPORT OF JOINT MOTION TO SEAL


                      Material/Title of Document                    Basis for Sealing                 Clearly Defined and           Why a Less Restrictive            Any Prior      Party in Opposition
                                                                 (Legitimate Private or            Serious Injury that Would        Alternative to the Relief       Order Sealing     to Sealing, if any,
                                                                 Public Interest Which               Result if Relief is Not        Sought is Not Available           the Same            and Basis
                                                                Warrant the Relief Sought)                  Granted                                                  Materials in
                                                                                                                                                                     the Pending
                                                                                                                                                                        Action
Exhibit 1 to Plaintiff’s September 7, 2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 88);

Exhibit 1       In its entirety.                                Plaintiff requests redaction of    Plaintiff and/or third party     There is no less restrictive    Sealing Orders   None
                                                                its commercially sensitive,        have a continuing interest to    alternative other than          D.E. 25, D.E.
                                                                proprietary business               ensure that their confidential   sealing portions of the         82.
                                                                information relating               and proprietary non-public       below-listed documents.
                                                                Plaintiff’s partial distribution   information remains              This is the least restrictive
                                                                and license agreement with a       undisclosed. If this             alternative available to
                                                                third party.                       information were to become       protect the nonpublic
                                                                                                   available, Plaintiff and/or      highly confidential
                                                                See Declaration of Joel A.         third party’s confidential       information contained in
                                                                Pisano (“Pisano Decl.”)            business information will be     the documents.
                                                                                                   publicized. Plaintiff and/or     See Pisano Decl.
                                                                                                   third party operate in a
                                                                                                   competitive marketplace,         Additionally, redacted
                                                                                                   one in which competitors         versions of the documents
                                                                                                   may exploit the information      have been filed on the
                                                                                                   for their own benefit and to     docket consistent with this
                                                                                                   Plaintiff and/or third party's   Index.
                                                                                                   detriment. If other, more
                                                                                                   well established competitors
                                                                                                   were able to use the
                                                                                                   information contained in the
                                                                                                   Confidential Information,
                                                                                                    1
             
             
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                    Material/Title of Document                            Basis for Sealing           Clearly Defined and           Why a Less Restrictive        Any Prior     Party in Opposition
                                                                       (Legitimate Private or      Serious Injury that Would        Alternative to the Relief   Order Sealing    to Sealing, if any,
                                                                       Public Interest Which         Result if Relief is Not        Sought is Not Available       the Same           and Basis
                                                                      Warrant the Relief Sought)            Granted                                              Materials in
                                                                                                                                                                 the Pending
                                                                                                                                                                    Action
                                                                                                   that would, at the very least,
                                                                                                   cause Plaintiff and/or third
                                                                                                   party to suffer serious and
                                                                                                   irreparable financial injury.
                                                                                                   See Pisano Decl.


VetPharm, Inc.’s September 11, 2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 90)

Page 2        First full paragraph, line 2, from “assertions” until   See Explanation Above        See Explanation Above            See Explanation Above       See Above       None
              the end of the paragraph.

              Second full paragraph, line 4, from “services” until
              “As VetBridge’s” on line 7.

              Footnote 2 in its entirety.




                                                                                                   2
           
           
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  1037 Raymond Blvd, Suite 600                     200 Liberty Street
  Newark, NJ 07102                                 New York, NY 10281
  (973) 757-1100                                   (212) 504-6000

  Attorneys for Plaintiff
  NewMarket Pharmaceuticals, LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 NEWMARKET PHARMACEUTICALS, LLC,                              Civil Action No. 3:17-cv-01852
 a Delaware limited liability company,                                  (MAS-TJB)

                       Plaintiff,
                                                        PROPOSED FINDINGS OF FACT AND
                       v.                               CONCLUSIONS OF LAW IN SUPPORT
                                                             OF MOTION TO SEAL
 VETPHARM, INC., a New York corporation;
 DENNI O. DAY; an individual; and
 PRELUDE DYNAMICS, LLC, a Texas limited                             Filed Electronically
 liability company,

                       Defendants.



        Pursuant to Local Civil Rule 5.3(c), Plaintiff NewMarket Pharmaceuticals, LLC

 (“Plaintiff”) hereby submits the Proposed Findings of Fact and Conclusions of Law in support of

 its Motion to Seal the following filings or portions thereof: (1) The entirety of Exhibit 1 to

 Plaintiff’s September 7, 2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 88); and (2)

 VetPharm, Inc.’s September 11, 2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 90).

 Specifically, Plaintiff seeks to seal the select portions of the above documents identified in the

 Index attached as Exhibit 1 to the Declaration of Joel A. Pisano (“Pisano Decl.”). These select

 portions of the above referenced documents are collectively referred to herein as the




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 “Confidential Information.” Local Civil Rule 5.3(c) places the burden of proof on the moving

 party as to why a motion to seal or otherwise restrict public access should be granted.

 Specifically, it requires a showing of:

                (1)     the nature of the materials or proceedings at issue;
                (2)     the legitimate private or public interest which warrants the relief sought;
                (3)     the clearly defined and serious injury that would result if the relief sought
                        is not granted; and
                (4)     why a less restrictive alternative to the relief sought is not available.

        Set forth below are the findings of fact and conclusions of law addressing each of the

 elements of Local Civil Rule 5.3(c). These findings of fact and conclusions of law support the

 granting of Plaintiff’s Motion to Seal the Confidential Information identified above:

 I.     The Nature of the Materials or Proceedings at Issue

        A.      Findings of Fact

        1.)      The Confidential Information discloses Plaintiff’s proprietary commercial and

 business interests, including information relevant to Plaintiff’s partial distribution and license

 agreement with a third party that the parties maintain in confidence in light of the highly

 competitive marketplace. Disclosure of this information would result in substantial harm to

 Plaintiff and/or third party’s ability to compete in the marketplace. (See Pisano Decl.1)

        B.      Conclusions of Law

        2.)     This Court has the power to seal where confidential information may be disclosed

 to the public. Fed. R. Civ. P. 26(c)(1)(G) allows the court to protect materials containing “trade

 secret[s] or other confidential research, development, or commercial information [,]” upon




 1
  “Pisano Decl.” refer to the Declaration of Joel A. Pisano in Support of the Motion to Seal,
 submitted herewith.


                                     2
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 motion by a party, to prevent harm to a litigant’s competitive standing in the marketplace. See

 Zenith Radio Corp. v. Matsushita Elec. Indus. Co., 529 F. Supp. 866, 889-91 (E.D. Pa. 1981).

 This Court has permitted the sealing of confidential business information in other cases. See,

 e.g., Littlejohn v. BIC Corp., 851 F.2d 673, 678 (3d Cir. 1988) (“courts may deny access to

 judicial records, for example, where they are sources of business information that might harm a

 litigant’s competitive standing.”); Goldenberg v. Indel, Inc., No. 09-5202, 2012 U.S. Dist.

 LEXIS 479, at *8-12 (D.N.J. Jan. 3, 2012) (permitting the sealing of business agreements

 containing commercially sensitive and proprietary non-public business information and

 confidential financial information); Hershey Co. v. Promotion in Motion, Inc., No. 07-1601,

 2010 U.S. Dist. LEXIS 43322, at *6-10 (D.N.J. May 4, 2012) (protecting from disclosure

 proprietary and commercially sensitive financial and sales information); Pfizer, Inc. v. Teva

 Pharms. USA, Inc., No. 08-1331, 2009 U.S. Dist. LEXIS 65031, at *3-4 (D.N.J. July 28, 2009)

 (granting motion to seal information that constitutes “trade secrets, non-public business and

 marketing plans, customer lists, [and] research and development.”); Osteotech, Inc. v.

 Regenerations Tech., Inc., No. 06-4249, 2009 U.S. Dist. LEXIS 3943, at *2-4 (D.N.J. Jan. 21,

 2009) (protecting from disclosure technical business information regarding proprietary

 technology); Bracco Diagnostics, Inc. v. Amersham Health, Inc., No. 03-6025, 2007 U.S. Dist.

 LEXIS 51828, at *18-24 (D.N.J. July 18, 2007) (protecting from disclosure specific confidential

 sales, costs and profit information); In re Gabapentin Patent Litig., 312 F. Supp. 2d 653, 667-68

 (D.N.J. 2004) (protecting from disclosure a party’s confidential processes, chemical formulas

 and specifications, and research information).




                                     3
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 II.    The Legitimate Private or Public Interest Which Warrants the Relief Sought

        A.      Findings of Fact

        3.)     The Confidential Information sought to be sealed contains information that

 Plaintiff and/or third party consider confidential and proprietary information. The Confidential

 Information is presently confidential and unavailable to the public. Counsel for Plaintiff has

 submitted Declaration stating that Plaintiff and/or third party have an interest in not publicly

 disclosing this information and rely on such information to advance their business strategies and

 to maintain a competitive advantage. (See Pisano Decl.).

        4.)     Plaintiff and/or third party have a continuing interest to ensure that their

 confidential and proprietary non-public information remains undisclosed. If this information

 were to become available, Plaintiff and/or third party’s competitors could and would likely use

 that information in the highly competitive marketplace. (Id.).

        B.      Conclusions of Law

        5.)     Courts have recognized that the presumption of public access is not absolute and

 may be rebutted. Republic of the Philippines v. Westinghouse Elec. Corp., 949 F.2d 653, 662

 (3d Cir. 1991). “Every court has supervisory power over its own records and files, and access

 has been denied where court files might have become a vehicle for improper purposes.”

 Littlejohn, 851 F.2d at 678 (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598

 (1978)).

        6.)     Courts may deny access to and seal a document when it encompasses business

 information that might harm a litigant’s competitive standing. See Littlejohn, 851 F.2d at 678

 (citations omitted).




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         7.)    Courts in this District have held that the inclusion of trade secrets and other

 confidential information in documents warrants the sealing of such documents. “A well-settled

 exception to the right of access is the ‘protection of a party’s interest in confidential commercial

 information, such as a trade secret, where there is a sufficient threat of irreparable harm.’” In re

 Gabapentin Patent Litig., 312 F. Supp. 2d at 664 (citation omitted). As such, “[t]he presence of

 trade secrets or other confidential information weighs against public access and, accordingly,

 documents containing such information may be protected from disclosure.” Id. (citations

 omitted).

 III.    The Clearly Defined and Serious Injury that Would Result if the Relief
         Sought Is Not Granted

         A.     Findings of Fact

         8.)    In light of its reference to, and disclosure of, non-public information that is

 otherwise unavailable, the public disclosure of the Confidential Information poses a substantial

 risk of harm to Plaintiff and/or third party’s legitimate proprietary interests and competitive

 position. (See Pisano Decl.)

         9.)    Disclosure of such specific highly confidential or confidential information would

 permit competitors to undercut or otherwise counter Plaintiff and/or third party’s commercial

 performance. (Id.).

         10.)   Competitors would improperly benefit from the disclosure of Plaintiff and/or third

 party’s non-public information and would likely use the Confidential Information to unfairly

 enhance their market positions. (Id.).

         B.     Conclusions of Law




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        11.)    This Court has discretion to balance the factors for and against access to court

 documents. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 781 (3d Cir. 1994).

        12.)    Protection of a party’s interest in confidential commercial information, such as a

 trade secret, is a sufficient threat of irreparable harm, and is clearly defined as a serious injury.

 See Publicker, 733 F.2d at 1071; see also Vista India, Inc. v. Raaga, LLC, No. 07-1262, 2008

 WL 834399, at *3-4 (D.N.J. Mar. 27, 2008).

 IV.    Why a Less Restrictive Alternative to the Relief Sought Is Not Available

        A.      Findings of Fact

        13.)    Once confidential information is disclosed to the public, it can never again be

 sealed or maintained as private.        Moreover, Plaintiff’s request to seal the Confidential

 Information is narrowly tailored to the specific confidential and proprietary information

 identified above.

        14.)    The disclosure of the Confidential Information would pose a financial and

 competitive risk to Plaintiff and/or third party. (See Pisano Decl.). Accordingly, the only way to

 protect this interest is to seal the Confidential Information. Plaintiff has carefully redacted only

 the specific pages, lines, and words containing the Confidential Information. Plaintiff’s request

 to seal the Confidential Information is narrowly tailored to the specific confidential and

 proprietary information that Plaintiff has redacted.




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        B.     Conclusions of Law

        15.)   Under Local Civil Rule 5.3(c)(2), a party seeking to seal documents must meet

 the fourth prong that a no less restrictive alternative to the relief sought is available. See

 Securimetrics, Inc. v. Iridian Techs., Inc., No. 03-cv-04394, 2006 WL 827889, at *2 (D.N.J.

 Mar. 30, 2006).

        16.)   The sealing of confidential documents and information is an accepted practice in

 the District of New Jersey. In re Gabapentin Patent Litig., 312 F. Supp. 2d 653.




 Respectfully submitted,                          Dated: September 26, 2018

                                                  By: s/Joel A. Pisano
                                                  Joel A. Pisano
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                                                  Of Counsel
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                                                  John T. Moehringer
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                                                  Attorneys for Plaintiff
                                                  NewMarket Pharmaceuticals, LLC




                                     7
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    Attorneys for Plaintiff
    NewMarket Pharmaceuticals, LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


    NEWMARKET PHARMACEUTICALS, LLC,                               Civil Action No. 3:17-cv-01852
    a Delaware limited liability company,                                   (MAS-TJB)

                            Plaintiff,
                                                               STATEMENT IN LIEU OF BRIEF
                            v.                                    PURSUANT TO LOCAL
                                                                   CIVIL RULE 7.1(d)(4)
    VETPHARM, INC., a New York corporation;
    DENNI O. DAY; an individual; and
    PRELUDE DYNAMICS, LLC, a Texas limited                              Filed Electronically
    liability company,

                            Defendants.


        Pursuant to Local Civil Rule 7.1(d)(4), no brief in support of the motion to seal

 brought by Plaintiff NewMarket Pharmaceuticals, LLC, for the entry of an Order to Seal is

 necessary because the factual and legal basis for the relief sought herein are set forth in the

 Proposed Findings of Fact and Conclusions of Law, and in the Declaration of Joel A. Pisano

 with Exhibit 1 annexed thereto.



  Respectfully submitted,                         Dated: September 26, 2018




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                                       2




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 NEWMARKET PHARMACEUTICALS, LLC,                              Civil Action No. 3:17-cv-01852
 a Delaware limited liability company,                                  (MAS-TJB)

                       Plaintiff,
                                                                  [PROPOSED] ORDER
                       v.

 VETPHARM, INC., a New York corporation;                             Filed Electronically
 DENNI O. DAY; an individual; and
 PRELUDE DYNAMICS, LLC, a Texas limited
 liability company,

                       Defendants.



        THIS MATTER having been opened to the Court by the application of Plaintiff

 NewMarket Pharmaceuticals, LLC (“Plaintiff”) by and through its undersigned counsel, in

 connection with the Motion to Seal, pursuant to Local Civil Rule 5.3(c) the following filings or

 portions thereof: (1) The entirety of Exhibit 1 to Plaintiff’s September 7, 2018 Letter to the Hon.

 Michael A. Shipp, U.S.D.J. (D.E. 88); and (2) VetPharm, Inc.’s September 11, 2018 Letter to the

 Hon. Michael A. Shipp, U.S.D.J. (D.E. 90), and the Court having further found that the standards

 of L. Civ. R. 5.3(c) have been met and support the sealing of the confidential documents and

 information; and for other and good cause having been shown, the Court hereby finds:


                                      FINDINGS OF FACT

    A. Pursuant to Local Civil Rule 5.3(c), Plaintiff moves to seal the following filings or

        portions thereof: (1) The entirety of Exhibit 1 to Plaintiff’s September 7, 2018 Letter to

        the Hon. Michael A. Shipp, U.S.D.J. (D.E. 88); and (2) VetPharm, Inc.’s September 11,

        2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 90), relating to Plaintiff and/or




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       third party’s commercially sensitive, proprietary business information, including

       information relevant to Plaintiff’s partial distribution and license agreement with a third

       party that the parties maintain in confidence in light of the highly competitive

       marketplace

    B. The select portions of the above documents identified in the index attached as Exhibit 1

       to the Declaration of Joel A. Pisano (“Pisano Decl.”) that are sought to be sealed are

       collectively referred to herein as the “Confidential Information.”

    C. The Confidential Information contains and/or reflects information that Plaintiff and/or

       third party have designated as “Confidential.”

    D. In particular, the Confidential Information discloses Plaintiff and/or third party’s

       commercially sensitive, proprietary business information.

    E. The legitimate private or public interests which warrant confidentiality are: Plaintiff

       and/or third party have a legitimate interest in maintaining the confidentiality of their

       confidential business information. The clearly defined and serious injury that would

       result if the Confidential Information is disclosed is: Information which was not intended

       to be seen by competitors would be available for review and potential use against

       Plaintiff and/or third party. Moreover, competitors (actual and potential) in the highly

       competitive marketplace, who are not parties to this action would have access to the

       information. There is no less restrictive alternative to the sealing of the Confidential

       Information.

    F. Plaintiff has complied with the terms of the Local Civil Rule 5.3(c) by moving to seal the

       Confidential Information.

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                                  CONCLUSIONS OF LAW

    A. The Court, having considered this matter pursuant to Fed. R. Civ. P. 78 and Local Civil

       Rule 5.3, and Plaintiff’s submissions in support of the Motion, finds that Plaintiff has

       satisfied its burden of proving under L. Civ. R. 5.3(c) and applicable case law, that the

       Confidential Information is highly confidential or confidential and entitled to protection.

       There exists in civil cases a common law public right of access to judicial proceedings

       and records. Goldstein v. Forbes (In re Cendant Corp.), 260 F.3d 183, 192 (3d Cir.

       2001) (citing Littlejohn v. BIC Corp., 851 F.2d 673, 677-78 (3d Cir. 1988)). The party

       seeking to seal any part of a judicial record bears the burden of demonstrating that “the

       material is the kind of information that courts will protect.” Miller v. Indiana Hosp., 16

       F.3d 549, 551 (3d Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059,

       1071 (3d Cir. 1984)). This Court has the power to seal where confidential information

       may be disclosed to the public. Fed. R. Civ. P. 26(c)(1)(G) allows the court to protect

       materials containing “trade secret[s] or other confidential research, development, or

       commercial information [,]” upon motion by a party, to prevent harm to a litigant’s

       competitive standing in the marketplace. See Zenith Radio Corp. v. Matsushita Elec.

       Indus. Co., 529 F. Supp. 866, 889-91 (E.D. Pa. 1981). Additionally, courts in this

       District have held that the inclusion of trade secrets and other confidential information in

       documents warrants the sealing of such documents. “A well-settled exception to the right

       of access is the ‘protection of a party’s interest in confidential commercial information,

       such as a trade secret, where there is a sufficient threat of irreparable harm.’” In re

       Gabapentin Patent Litig., 312 F. Supp. 2d 653, 664 (D.N.J. 2004) (citation omitted). As

                                                3


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       such, “[t]he presence of trade secrets or other confidential information weighs against

       public access and, accordingly, documents containing such information may be protected

       from disclosure.” Id. (citations omitted).

    B. Local Civil Rule 5.3(c) places the burden of proof on the moving party as to why a

       motion to seal or otherwise restrict public access should be granted. Specifically, it

       requires a showing of: (1) the nature of the materials or proceedings at issue; (2) the

       legitimate private or public interest which warrants the relief sought; (3) the clearly

       defined and serious injury that would result if the relief sought is not granted; and (4)

       why a less restrictive alternative to the relief sought is not available.

    C. The information in Plaintiff’s submission satisfies the standards set forth in Local Civil

       Rule 5.3(c) and there is no less restrictive alternative to sealing the Confidential

       Information.

       THEREFORE, it is on this _____ day of ________________, 2018;

       ORDERED as follows:

    1. The following filings or portions thereof identified in the index attached as Exhibit 1 to

       Pisano Decl. contain confidential information: (1) The entirety of Exhibit 1 to Plaintiff’s

       September 7, 2018 Letter to the Hon. Michael A. Shipp, U.S.D.J. (D.E. 88); and (2)

       VetPharm, Inc.’s September 11, 2018 Letter to the Hon. Michael A. Shipp, U.S.D.J.

       (D.E. 90).     The Court further finds that Plaintiff and/or third party would suffer

       substantial and specific harm, including but not limited to, potential financial damage

       through the divulgence of such confidential information, that the public interest weighs in



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       favor of the information remaining confidential and being sealed, and that no less

       restrictive alternative exists.

    2. Therefore, Plaintiff’s Motion pursuant to Local Civil Rule 5.3(c) to Seal is GRANTED.

       SO ORDERED.



                                         HONORABLE TONIANNE J. BONGIOVANNI
                                         UNITED STATES MAGISTRATE JUDGE




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  Attorneys for Plaintiff
  NewMarket Pharmaceuticals, LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 NEWMARKET PHARMACEUTICALS, LLC,                               Civil Action No. 3:17-cv-01852
 a Delaware limited liability company,                                   (MAS-TJB)

                       Plaintiff,
                                                                CERTIFICATE OF SERVICE
                       v.

 VETPHARM, INC., a New York corporation;
 DENNI O. DAY; an individual; and                                     Filed Electronically
 PRELUDE DYNAMICS, LLC, a Texas limited
 liability company,

                       Defendants.



        I, Joel A. Pisano, hereby certify that, on the date set forth below, I caused true and correct

 copies of the following documents submitted on behalf of Plaintiff NewMarket Pharmaceuticals,

 LLC to be electronically filed and served via the Court’s electronic filing system on the Office of

 the Clerk, United States District Court for the District of New Jersey, Clarkson S. Fisher Federal

 Building & U.S. Courthouse, 402 East State Street, Trenton, New Jersey:

               Notice of Motion to Seal;

               Declaration of Joel A. Pisano with Exhibit 1 annexed thereto;

               Proposed Findings of Fact and Conclusions of Law;



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               Statement in Lieu of Brief pursuant to L. Civ. R. 7.1(d);

               Proposed form of Order; and

               This Certificate of Service.

        I further certify that, on the date set forth below, I caused a true and correct copy of the

 above documents to be served on all counsel of record via email and electronic filing.

        I hereby certify the foregoing statements made by me are true. I am aware that if any of

 the foregoing statement by me are willingly false that I am subject to punishment.


 Dated: September 26, 2018                                   s/Joel A. Pisano
                                                             Joel A. Pisano




                                                 2
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                                                  Lang Dec., EXHIBIT D
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Lang, Greer S.

From:                                Lang, Greer S.
Sent:                                Wednesday, October 24, 2018 5:38 PM
To:                                  Pollaro, Robert
Cc:                                  Shanks, Brett A.; Stahl, Thomas; Fields, Brian W.; Moehringer, John
Subject:                             RE: VetBridge v. NewMarket


Robert, 
 
Before you file a motion for sanctions, you should look at the rule. I believe it requires you to provide us with that 
motion in advance and that you may not file it with the court for 21 days. I would also note that filing a frivolous motion 
for sanctions is itself sanctionable conduct; though it is not our practice to constantly threaten opposing counsel with 
sanctions as a standard way of doing business. 
 
Moreover, it is not our prerogative to put something under seal. The court will only do that after it is satisfied that the 
materials are in fact confidential and that there is a sufficient justification for not having the filings made public.  I don't 
think that showing can be made here under any circumstance given your own filing and disclosures.  But I accept that 
you will proceed in the manner you've indicated. 
 
Regards, 
 
 
 
Greer S. Lang 
Partner 
Lathrop Gage LLP 
2345 Grand Blvd., Suite 2200 
Kansas City, MO 64108‐2618 
Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
glang@lathropgage.com 
 
‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Pollaro, Robert [mailto:Robert.Pollaro@cwt.com] 
Sent: Wednesday, October 24, 2018 5:29 PM 
To: Lang, Greer S. 
Cc: Shanks, Brett A.; Stahl, Thomas; Fields, Brian W.; Moehringer, John 
Subject: Re: VetBridge v. NewMarket 
 
Thanks Greer.  I will be filing a motion to compel and for sanctions. 
 
Regards, 
 
Robert 
 
> On Oct 24, 2018, at 6:27 PM, Lang, Greer S. (LG) <glang@lathropgage.com> wrote: 
> 
> Robert, 
> 


                                                                1
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                                                                                 Lang Dec., EXHIBIT E
> I have spoken with our client and we do not agree that the Exclusive Distribution and License Agreement 
("Agreement") is confidential under the express terms of that Agreement for the reasons I previously expressed. 
Additionally, the Agreement contains an integration clause and by its express terms, the Agreement and its Exhibits 
"supersede all prior oral and written understandings and agreements between the parties." 
> 
> I would also note the Petition, the original TRO and the Amended TRO quote at length from the Agreement.  At the 
September 14 hearing in the Circuit Court, you did not advise that you considered anything in the Petition or the original 
TRO to be confidential. Nor did you do so at the time you received the Amended TRO entered by the Court. 
> 
> Further, you filed a copy of the original TRO with the court in the New Jersey action on September 7 [Doc. 87], after 
being served with the Petition and the TRO , making the portions of the Agreement quoted in the TRO a matter of public 
record, clearly indicating that you and your client did not consider the portions disclosed therein to be confidential. 
> 
> Moreover, at the time you filed your Notice of Removal in the Western District of Missouri on October 5 [Doc. 1], you 
attached and filed as a matter of public record, complete copies of the foregoing pleadings and orders, again publishing 
substantial portions of the Agreement that were quoted at length therein. 
> 
> I would also note that as an exhibit to Mark Ridall's declaration in connection with your motion to transfer that Mr. 
Ridall disclosed substantive information from the Agreement in ¶¶ 8 and 9; in addition to attaching a copy of a 
September 9, 2016 letter that again discloses substantive information regarding the terms of the Agreement, your 
client's efforts to modify the same, and other information pertaining to a number of other matters that are the subject 
of the Agreement, as well as the status of the same and a budget of actual and projected costs. That information was 
disclosed and filed as a matter of public record even though that letter and the attachment are marked "Confidential." 
> 
> Given the foregoing, your client has not treated the Agreement or its terms as confidential, and we do not believe that 
your client can  selectively pick and choose what parts of the Agreement it wants to unilaterally keep confidential and 
what parts it wants to make public.  Having chosen to make those disclosures, we do not think it is possible for your 
client to now try to un‐ring the bell.  Accordingly, we are not willing to remove the copy of the Agreement attached as 
an exhibit to our recently filed motion to set the preliminary injunction hearing. 
> 
> If you believe we are missing something in our analysis, we would be willing to discuss. 
> 
> Kind regards, 
> 
> 
> 
> Greer S. Lang 
> Partner 
> Lathrop Gage LLP 
> 2345 Grand Blvd., Suite 2200 
> Kansas City, MO 64108‐2618 
> Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
> glang@lathropgage.com 
> 
> ‐‐‐‐‐Original Message‐‐‐‐‐ 
> From: Lang, Greer S. 
> Sent: Monday, October 22, 2018 4:02 PM 
> To: Pollaro, Robert 
> Cc: Shanks, Brett A.; Stahl, Thomas; Fields, Brian W.; Moehringer, John 
> Subject: Re: VetBridge v. NewMarket 
> 
> Robert, 

                                                            2
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> 
> I responded to your email on Saturday and agreed to discuss tomorrow. I’m not available to talk at 10 am, but can get 
to a phone at 1pm CST. If that works, I’ll send a call in number. 
> 
> In advance, please advise if the basis upon which you contend Lathrop is disqualified. 
> 
> Regards, 
> 
> Sent from my iPhone 
> 
> 
> Greer S. Lang 
> Partner 
> Lathrop Gage LLP 
> 2345 Grand Blvd., Suite 2200 
> Kansas City, MO 64108‐2618 
> Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
> glang@lathropgage.com 
> 
> 
>> On Oct 22, 2018, at 2:31 PM, Pollaro, Robert <Robert.Pollaro@cwt.com> wrote: 
>> 
>> Greer, 
>> 
>> We are disappointed that you have not filed corrective papers with the court regarding NewMarkets’ confidential 
business information.  In addition to our anticipated motion for sanctions we want to meet and confer on Lathrop 
Gage’s disqualification from this action tomorrow at 10am (central, 11am Eastern).  Please circulate a dial‐in in advance 
of the call. 
>> 
>> Regards, 
>> 
>> Robert 
>> 
>>> On Oct 20, 2018, at 11:35 AM, Lang, Greer S. (LG) <glang@lathropgage.com> wrote: 
>>> 
>>> Robert, 
>>> 
>>> As indicated in my email, we are willing to discuss. 
>>> 
>>> 
>>> 
>>> Greer S. Lang 
>>> Partner 
>>> Lathrop Gage LLP 
>>> 2345 Grand Blvd., Suite 2200 
>>> Kansas City, MO 64108‐2618 
>>> Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
>>> glang@lathropgage.com 
>>> 
>>> ‐‐‐‐‐Original Message‐‐‐‐‐ 
>>> From: Pollaro, Robert [mailto:Robert.Pollaro@cwt.com] 
>>> Sent: Saturday, October 20, 2018 10:30 AM 

                                                            3
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>>> To: Lang, Greer S. 
>>> Cc: Shanks, Brett A.; Stahl, Thomas; Fields, Brian W. 
>>> Subject: Re: VetBridge v. NewMarket 
>>> 
>>> Greer, 
>>> 
>>> With all do respect it doesn’t matter what you think.  NewMarket has expressed their unambiguous position that 
the agreement is confidential.  You are obligated to treat it as such until a court orders otherwise.  It makes zero sense 
that an agreement formed under an NDA would not be itself confidential.  I suggest we meet and confer on this topic 
Tuesday before I file my motion for sanctions and whatever other appropriate remedies for which NewMarket may be 
entitled. 
>>> 
>>> Robert 
>>> 
>>>> On Oct 20, 2018, at 11:03 AM, Lang, Greer S. (LG) <glang@lathropgage.com> wrote: 
>>>> 
>>>> Robert, 
>>>> 
>>>> There is no basis to claim that the Exclusive Distribution & License Agreement ("Agreement")  is "Confidential 
Information" and should be filed under seal. 
>>>> 
>>>> We agreed, as a matter of courtesy, to place the same under seal in the Circuit Court. However, the Agreement 
itself is not called a “Confidential Agreement” and contains no markings identifying it as “Confidential,” as required 
under ¶12(b) of the Agreement.  Further, given your client's unwillingness to agree to a preliminary injunction, 
consistent with the Amended TRO, we must assume that NewMarket, consistent with its prior actions, intends to 
misstate to third parties that NewMarket can transfer exclusive worldwide rights (including the Field and Territory held 
by VetBridge) "free and clear," and to not disclose the Agreement's existence.  Placing the Agreement under seal only 
serves to allow those misstatements to be made and to expose our client's rights to further prejudice. 
>>>> 
>>>> If you or your client have some basis to claim that the Agreement itself is "Confidential Information," we are willing 
to reconsider our position or you can file a motion with the Court asking that the same be placed under seal. However, 
in the absence of an explanation of the basis for the same, we will not agree to place the same under seal. 
>>>> 
>>>> Regards, 
>>>> 
>>>> 
>>>> 
>>>> 
>>>> 
>>>> Greer S. Lang 
>>>> Partner 
>>>> Lathrop Gage LLP 
>>>> 2345 Grand Blvd., Suite 2200 
>>>> Kansas City, MO 64108‐2618 
>>>> Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
>>>> glang@lathropgage.com 
>>>> 
>>>> ‐‐‐‐‐Original Message‐‐‐‐‐ 
>>>> From: Pollaro, Robert [mailto:Robert.Pollaro@cwt.com] 
>>>> Sent: Friday, October 19, 2018 5:27 PM 
>>>> To: Lang, Greer S. 
>>>> Cc: Shanks, Brett A.; Stahl, Thomas; Fields, Brian W. 

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>>>> Subject: Re: VetBridge v. NewMarket 
>>>> 
>>>> Thank you.  Please tell me that our agreement is not publicly available.  If so please rectify immediately. 
>>>> 
>>>> Have a good weekend. 
>>>> 
>>>> Robert 
>>>> 
>>>>> On Oct 19, 2018, at 5:31 PM, Lang, Greer S. (LG) <glang@lathropgage.com> wrote: 
>>>>> 
>>>>> Robert, 
>>>>> 
>>>>> Tuesday works for me, as well. How about 10 a.m. CST/11 a.m. EST, or I could do in the afternoon. 
>>>>> 
>>>>> 
>>>>> 
>>>>> 
>>>>> Greer S. Lang 
>>>>> Partner 
>>>>> Lathrop Gage LLP 
>>>>> 2345 Grand Blvd., Suite 2200 
>>>>> Kansas City,  MO  64108‐2618 
>>>>> Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
>>>>> glang@lathropgage.com<mailto:glang@lathropgage.com> 
>>>>> 
>>>>> 
>>>>> From: Pollaro, Robert [mailto:Robert.Pollaro@cwt.com] 
>>>>> Sent: Friday, October 19, 2018 4:15 PM 
>>>>> To: Lang, Greer S. 
>>>>> Cc: Shanks, Brett A.; Stahl, Thomas; Fields, Brian W. 
>>>>> Subject: Re: VetBridge v. NewMarket 
>>>>> 
>>>>> Greer, 
>>>>> 
>>>>> I am available Tuesday. 
>>>>> 
>>>>> Please send courtesy copies of the papers you filed today. 
>>>>> 
>>>>> Thank you, 
>>>>> 
>>>>> Robert 
>>>>> 
>>>>> On Oct 19, 2018, at 9:05 AM, Lang, Greer S. (LG) <glang@lathropgage.com<mailto:glang@lathropgage.com>> 
wrote: 
>>>>> 
>>>>> 
>>>>> Robert, 
>>>>> 
>>>>> We are required to have our Rule 26(f) conference to agree the timing of initial disclosures and to develop an 
agreed discovery plan and scheduling order no later than October 25 (next Thursday). Please let me know when you can 
be available to discuss the same. 
>>>>> 

                                                          5
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>>>>> 
>>>>> Greer S. Lang 
>>>>> Partner 
>>>>> <image9020c1.PNG> 
>>>>> Lathrop Gage LLP 
>>>>> 2345 Grand Blvd., Suite 2200 
>>>>> Kansas City, MO 64108‐2618 
>>>>> Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001 
>>>>> glang@lathropgage.com<mailto:glang@lathropgage.com> 
>>>>> lathropgage.com<http://www.lathropgage.com/glang> 
>>>>> 
>>>>> ________________________________ 
>>>>> This e‐mail (including any attachments) may contain material that (1) is confidential and for the sole use of the 
intended recipient, and (2) may be protected by the attorney‐client privilege, attorney work product doctrine or other 
legal rules. Any review, reliance or distribution by others or forwarding without express permission is strictly prohibited. 
If you are not the intended recipient, please contact the sender and delete all copies. 
>>>>> 
>>>>> 
>>>>> 
>>>>> ________________________________ 
>>>>> NOTE: The information in this email is confidential and may be legally privileged.  If you are not the intended 
recipient, you must not read, use or disseminate the information; please advise the sender immediately by reply email 
and delete this message and any attachments without retaining a copy.  Although this email and any attachments are 
believed to be free of any virus or other defect that may affect any computer system into which it is received and 
opened, it is the responsibility of the recipient to ensure that it is virus free and no responsibility is accepted by 
Cadwalader, Wickersham & Taft LLP for any loss or damage arising in any way from its use. 
>>>>> ________________________________ 
>>>>> 
>>>>> <013_Motion to Set Preliminary Injunction Hearing_Suggestions.zip> 
> 
 




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